      Case 2:23-bk-14154-SK       Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22          Desc
                                   Main Document    Page 1 of 66


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 77   Proposed Attorneys for Debtors and Debtors in Possession

 88                     UNITED STATES BANKRUPTCY COURT
               CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
 99
      In re:                                             Lead Case No.: 2:23-bk-14154-SK
10
10

11
11       ITTELLA INTERNATIONAL LLC,                      Jointly administered with Case Nos.
      a California limited liability company             2:23-bk-14159-SK; 2:23-bk-14161-SK;
12
12       ITTELLA’S CHEF, LLC,                            2:23-bk-14157-SK; 2:23-bk-14158-SK;
      a California limited liability company             2:23-bk-14155-SK; 2:23-bk-14156-SK; and
13
13       TATTOOED CHEF, INC.,                            2:23-bk-14160-SK
      a Delaware corporation
14
14       MYJOJO, INC.,                                   Chapter 11 Cases
      a Delaware corporation
15
15       NEW MEXICO FOOD DISTRIBUTORS, INC.,
                                                         DEBTOR’S MOTION FOR ENTRY OF
      a New Mexico corporation
16
16                                                       AN ORDER (1) AUTHORIZING SALE
         TCI TORTILLA FACTORY, LLC,
      a New Mexico limited liability company
                                                         OF SUBSTANTIALLY ALL OF TCI’S
17
17                                                       ASSETS FREE AND CLEAR OF ALL
         BCI ACQUISITION, INC.,
      a Delaware corporation                             LIENS, CLAIMS, ENCUMBRANCES
18
18
         TTCF-NM HOLDINGS INC.,                          AND INTERESTS; (2) WAIVING THE
19
19    a Delaware corporation                             14-DAY STAY PERIODS SET FORTH
         All Debtors                                     IN BANKRUPTCY RULE 6004(h);
20
20                                                       AND (3) GRANTING RELATED
                Debtors and Debtors-in-Possession.       RELIEF; MEMORANDUM OF
21
21                                                       POINTS AND AUTHORITIES AND
22
22                                                       DECLARATION IN SUPPORT
                                                         THEREOF
23
23
                                                          Date:     September 6, 2023
24
24                                                        Time:     9:00 a.m.
                                                          Location: Courtroom 1575
25
25                                                                  255 East Temple Street
26
26                                                                  Los Angeles, California 90012
                                                                    [Also VIA ZoomGov]
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      Case 2:23-bk-14154-SK                     Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                                                 Desc
                                                 Main Document    Page 2 of 66


 11                                                      TABLE OF CONTENTS
 22

 33   MEMORANDUM OF POINTS AND AUTHORITIES ................................................................ 5
 44   I. STATEMENT OF FACTS .......................................................................................................... 5
 55
                A.         Background. ............................................................................................................ 5
 66
                B.         Proposed Terms Of The Sale. ............................................................................... 11
 77
      II. DISCUSSION .......................................................................................................................... 13
 88
                A.         The Court Should Authorize TCI To Sell The Transferred Assets To
 99                        Buyer Or The Successful Bidder. ......................................................................... 13
10
10                         1.         Sound Business Purpose ........................................................................... 14
11
11                         2.         Accurate and Reasonable Notice .............................................................. 16
12
12
                           3.         Fair and Reasonable Price ......................................................................... 18
13
13
                           4.         Good Faith ................................................................................................ 19
14
14
                B.         The Sale Of The Property Should Be Free And Clear Of All Liens,
15
15                         Claims, Encumbrances And Other Interests Pursuant To 11 U.S.C. §
                           363(f)..................................................................................................................... 22
16
16
                           1.         The Proposed Sale Should Be Approved Under 11 U.S.C. § 363(f)(2). .. 22
17
17
                C.         TCI Requests That The Court Waive The Fourteen-Day Waiting Periods
18
18
                           Set Forth In Bankruptcy Rule 6004(h).................................................................. 23
19
19
      III. CONCLUSION ....................................................................................................................... 24
20
20
      DECLARATION OF EDWARD BIDANSET ............................................................................. 27
21
21

22
22

23
23

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25

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27

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28


                                                                              i
      Case 2:23-bk-14154-SK                   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                                      Desc
                                               Main Document    Page 3 of 66


 11                                                TABLE OF AUTHORITIES
                                                                                                                                 Page(s)
 22
      Federal Cases
 33

 44   In re Abbotts Dairies of Pennsylvania, Inc.,
          788 F.2d 143 (3d Cir. 1986)...............................................................................................14, 19
 55
      In re Alpha Industries, Inc.,
 66       84 B.R. 703 (Bankr. Mont. 1988) ......................................................................................18, 19
 77   In re Apex Oil Co.,
          92 B.R. 847 (Bankr. E.D. Mo. 1988) .......................................................................................19
 88

 99   Big Shanty Land Corp. v. Comer Properties, Inc.,
         61 B.R. 272 (Bankr. N.D. Ga. 1985) .......................................................................................18
10
10
      In re Canyon Partnership,
11
11        55 B.R. 520 (Bankr. S.D. Cal. 1985) .......................................................................................18

12
12    Comm. of Equity SEC Holders v. Lionel Corp. (In re Lionel Corp.),
        722 F.2d 1063 (2d Cir. 1983).............................................................................................14, 15
13
13
      In re Continental Airlines, Inc.,
14
14
          780 F.2d 1223 (5th Cir. 1986) .................................................................................................15
15
15
      In re Del Grosso,
16
16        106 B.R. 165 (Bankr. N.D. Ill. 1989) ......................................................................................20

17
17    In re Delaware and Hudson Ry. Co.,
          124 B.R. 169 (D. Del. 1991) ..............................................................................................14, 16
18
18
      In re Eliot,
19
19        94 B.R. 343 (E.D. Pa. 1988) ..............................................................................................22, 23
20
20
      In re Ex-Cel Concrete Company, Inc.,
21
21        178 B.R. 198 (9th Cir. BAP 1995)...........................................................................................23

22
22    Fabricators Inc. v. Technical Fabricators, Inc.,
         926 F.2d 1458 (5th Cir. 1991) .................................................................................................20
23
23
      In re Filtercorp, Inc.,
24
24        163 F.3d 570 (9th Cir. 1998) ...................................................................................................20
25
25
      In re Gabel,
26
26        61 B.R. 661 (Bankr. W.D. La. 1985) .......................................................................................23

27
27    In re Harford Sands Inc.,
          372 F.3d 637 (4th Cir. 2004) ...................................................................................................20
28
28


                                                                        ii
      Case 2:23-bk-14154-SK                      Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                                             Desc
                                                  Main Document    Page 4 of 66


 11   In re Huntington, Ltd.,
          654 F.2d 578 (9th Cir. 1981) ...................................................................................................14
 22
      In re Industrial Valley Refrig. and Air Cond. Supplies, Inc.,
 33
          77 B.R. 15 (Bankr. E.D. Pa. 1987) ..........................................................................................19
 44
      In re Karpe,
 55       84 B.R. 926 (Bankr. M.D. Pa. 1988) .......................................................................................16

 66   In re M Capital Corporation,
          290 B.R. 743 (9th Cir. BAP 2003)...........................................................................................20
 77
      In re Martin (Myers v. Martin),
 88       91 F.3d 389 (3d Cir. 1996).......................................................................................................13
 99
      In re MCorp Financial, Inc.,
10
10        160 B.R. 941 (S.D. Tex. 1993) ................................................................................................20

11
11    In re Paddlewheels, Inc.,
          2007 WL 1035151 (Bankr. E.D.La. April 2, 2007) .................................................................23
12
12
      In re Qintex Entertainment, Inc.,
13
13        950 F.2d 1492 (9th Cir. 1991) .................................................................................................14
14
14
      In re Rock Indus. Mach. Corp.,
15
15        572 F.2d 1195 (7th Cir. 1978) .................................................................................................19

16
16    Titusville Country Club v. Pennbank (In re Titusville Country Club),
          128 B.R. 396 (Bankr. W.D. Pa. 1991) .....................................................................................14
17
17
      Walter v. Sunwest Bank (In re Walter),
18
18       83 B.R. 14 (9th Cir. BAP 1988).........................................................................................14, 15
19
19    In re Whittemore,
20
20        37 B.R. 93 (Bankr. D. Or. 1984) ..............................................................................................22

21
21    In re Wilde Horse Enterprises,
          136 B.R. .............................................................................................................................18, 19
22
22
      Federal Statutes
23
23
      11 U.S.C.
24
24       § 102(1)(A) ..............................................................................................................................16
         § 363(b)(1) .........................................................................................................................16, 19
25
25
         § 363(b), (f) and (m) ..................................................................................................................2
26
26       § 363(f)...........................................................................................................................2, 21, 22
         § 363(f)(1)-(5) ......................................................................................................................3, 25
27
27       § 363(f)(2) ..........................................................................................................................22, 23
         § 363(m) .........................................................................................................................3, 21, 24
28
28


                                                                            iii
      Case 2:23-bk-14154-SK                       Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                                                Desc
                                                   Main Document    Page 5 of 66


 11        § 503(b)(3) .........................................................................................................................12, 35
           § 705.........................................................................................................................................17
 22        § 1102.......................................................................................................................................17
 33        § 363...................................................................................................................................14, 16
           § 363(b) ..................................................................................................................13, 14, 15, 18
 44        § 363(b)(2) ...............................................................................................................................17
           § 363(k) ..............................................................................................................................11, 34
 55        §§ 1107 and 1108 .......................................................................................................................5
 66
      Other Authorities
 77

 88   Fed. R. Bankr. P. 2002(a)(2), (c)(1), (i) and (k) ............................................................................17
      Fed. R. Bankr. P. 2002 and 6004 .....................................................................................................2
 99   Fed. R. Bankr. P. 2002(i) ...............................................................................................................17
      Fed. R. Bankr. P. 2002(a)(2) ..........................................................................................................17
10
10    Fed. R. Bankr. P. 2002(c)(1) ..........................................................................................................17
      Fed. R. Bankr. P. 2002(k) ..............................................................................................................17
11
11
      Fed. R. Bankr. P. 6004(c) ........................................................................................................17, 18
12
12    Fed. R. Bankr. P. 6004(a) ........................................................................................................16, 17
      Fed. R. Bankr. P. 6004(h) ..........................................................................................2, 4, 23, 24, 26
13
13    Fed. R. Bankr. P. 6004(a) and 2002(a)(2), (c)(1), (i) and (k) ........................................................17
      Fed. R. Bankr. P. 9014 ...................................................................................................................17
14
14
      Local Bankruptcy Rule 6007-1(f) ............................................................................................17, 18
15
15
      Local Bankruptcy Rule 9013-1(d)(2).............................................................................................17
16
16    Local Bankruptcy Rules 6004-1(c) and 9013-1 ...............................................................................2
      10 Collier on Bankruptcy ¶ 6004.11 (Alan N. Resnick & Henry J. Sommer eds.
17
17       16th ed. 2015) ....................................................................................................................23, 24
18
18

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      Case 2:23-bk-14154-SK        Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22               Desc
                                    Main Document    Page 6 of 66


 11          TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY

 22   JUDGE FOR THE CENTRAL DISTRICT OF CALIFORNIA:

 33          Tattooed Chef, Inc., one of debtors and debtors in possession in the above-captioned,

 44   jointly administered Chapter 11 bankruptcy cases (“TCI”),1 hereby files this motion (the

 55   “Motion”) seeking an order of the Court:

 66          (A)     pursuant to 11 U.S.C. § 363(f), authorizing TCI to enter into an agreement (the

 77                  “APA”), in substantially the form attached as Exhibit “1” to the annexed

 88                  Declaration of Edward Bidanset (the “Bidanset Declaration”), to sell certain

 99                  equipment and spare parts described in the APA (collectively, the “Transferred

10
10                   Assets”), free and clear of liens, claims, encumbrances and other interests, under

11
11                   the terms and conditions set forth in the APA, to Naturasol S.A. de C.V.

12
12                   (“Buyer”) or to a successful overbidder as determined at an auction to be

13
13                   conducted before this Court, if appropriate, on September 6, 2023 at 9:00 a.m.;

14
14           (B)     waiving the 14-day stay periods set forth in Rule 6004(h) of the Federal Rules of

15
15                   Bankruptcy Procedure (the “Bankruptcy Rules”); and

16
16           (C)     granting related relief as described in the Motion.

17
17           The Motion is based upon this Motion, the Notice of this Motion filed concurrently

18
18    herewith, the annexed Memorandum of Points and Authorities (the “Memorandum”) and

19
19    Bidanset Declaration, 11 U.S.C. § 363(b), (f) and (m), Bankruptcy Rules 2002 and 6004, and

20
20    Local Bankruptcy Rules 6004-1(c) and 9013-1, the entire record in TCI’s case, the statements,

21
21    arguments and representations of counsel to be made at the hearing on the Motion, and any other

22
22    evidence properly presented to the Court.

23
23           WHEREFORE, TCI respectfully requests that the Court enter an order:

24
24           (1)     finding that notice of the Motion and the hearing on the Motion was proper,

25
25    timely, adequate, appropriate and sufficient;

26
26

27
27    1
       This Motion addresses assets owned solely and exclusively by TCI (Case No. 2:23-bk-14161-
28
28    SK). The other jointly administered estates have no interest in the assets proposed to be sold.



                                                       2
      Case 2:23-bk-14154-SK           Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22               Desc
                                       Main Document    Page 7 of 66


 11           (2)     finding good, sufficient, and sound business purposes and justification and

 22   compelling circumstances for the sale of the Transferred Assets prior to, and outside of, a plan of

 33   reorganization;

 44           (3)     finding that the APA was negotiated, proposed and entered into by the parties

 55   thereto without collusion, in good faith, and from arms’ length bargaining positions, and that

 66   Buyer (or a successful overbidder) is a good faith buyer entitled to all of the protections afforded

 77   by 11 U.S.C. § 363(m);

 88           (4)     finding the consideration provided by Buyer (or a successful overbidder) for the

 99   Transferred Assets to (i) be fair and reasonable, (ii) be the highest or otherwise best offer for the

10
10    Transferred Assets that was received, (iii) provide a greater recovery for TCI’s creditors than

11
11    would be provided by any other practical available alternative, and (iv) constitute reasonably

12
12    equivalent value and fair consideration under the circumstances of TCI’s bankruptcy case;

13
13            (5)     finding that one or more of the standards set forth in 11 U.S.C. § 363(f)(1)-(5) has

14
14    been satisfied for selling the Transferred Assets, free and clear of all liens, claims, encumbrances

15
15    and other interests;

16
16            (6)     finding that approval of the APA and the consummation of the sale of the

17
17    Transferred Assets to Buyer (or a successful overbidder) is in the best interests of TCI, its estate,

18
18    its creditors, and other parties in interest;

19
19            (7)     authorizing TCI to (a) enter into the APA, in substantially the form attached as

20
20    Exhibit “1” to the Bidanset Declaration, (b) sell and transfer the Transferred Assets to Buyer (or

21
21    a successful overbidder), free and clear of all liens, claims, encumbrances and interests of any

22
22    kind or nature whatsoever other than as may be provided in the APA, such that the Sale Order

23
23    shall be effective as a determination that any and all liens, claims, encumbrances and interests

24
24    shall be, and are, released with respect to the Transferred Assets as of the Closing, except that

25
25    such liens, claims, encumbrances and interests shall attach to TCI’s interest in the sale proceeds

26
26    in the order of their priority, with the same validity, force and effect as they had in the

27
27    Transferred Assets, subject to any rights, claims and defenses of TCI, and, (c) upon Closing,

28
28    authorizing TCI to distribute the proceeds of the sale to any creditors holding valid liens against


                                                       3
      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                     Main Document    Page 8 of 66


 11   the Transferred Assets; as follows: (i) an amount equal to the JCF Claim2 to JCF to satisfy the

 22   JCF Claim and extinguish JCF’s lien and (ii) the remainder (approximately $4,840,000)

 33   distributed to UMB to be first applied to fully repay the DIP Roll-Up Loans (as defined in the

 44   Final DIP Order) and thereafter to be applied to reduce the Lender Allowed Claim (as defined in

 55   the Final DIP Order), provided that, if the proposed distribution of the sale proceeds is not

 66   approved by the Court, the proceeds will be held in a segregated blocked debtor-in-possession

 77   account at UMB and UMB’s lien and JCF’s lien shall attach to the proceeds of the sale in the

 88   same priority and to the same extent and validity as their respective pre-petition liens;

 99            (8)    authorizing TCI to execute and deliver such additional agreements and

10
10    documents, and take any and all further actions, as may be reasonably requested by Buyer (or a

11
11    successful overbidder) to implement the terms of the APA;

12
12             (9)    determining that Buyer (or a successful overbidder) is not a successor under

13
13    theories of successor liability, vicarious liability or otherwise, to TCI, and shall not be deemed or

14
14    found to have merged with or into TCI;

15
15             (10)   waiving the 14-day stay periods set forth in Bankruptcy Rule 6004(h); and

16
16             (11)   granting such other and further relief as the Court deems just and proper.

17
17    Dated: August 16, 2023                        TATTOOED CHEF, INC.
18
18

19
19                                                  By:     /s/ David L. Neale
                                                            DAVID L. NEALE
20
20                                                          TODD M. ARNOLD
                                                            ROBERT M. CARRASCO
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21
                                                            LEVENE, NEALE, BENDER,
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22                                                                 YOO & GOLUBCHIK L.L.P.
                                                            Proposed Attorneys for Debtors and
23
23                                                          Debtors in Possession

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      2
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28        Capitalized terms not defined herein have the meanings ascribed to them in the Memorandum.



                                                       4
      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                Desc
                                     Main Document    Page 9 of 66


 11                       MEMORANDUM OF POINTS AND AUTHORITIES
                                          I.
 22                               STATEMENT OF FACTS

 33   A.     Background.

 44          1.      Ittella International LLC (“Ittella”), Ittella’s Chef, LLC (“ICLLC”), Tattooed

 55   Chef, Inc., (“TCI”) Myjojo, Inc., (“Myjojo”) New Mexico Food Distributors, Inc., (“NMFD”)

 66   Karsten Tortilla Factory, LLC, (“Karsten”), BCI Acquisition, Inc., (“BCI”) and TTCF-NM

 77   Holdings Inc., (“TTCF”) the debtors and debtors-in-possession in the above-captioned Chapter

 88   11 bankruptcy cases (collectively, the “Debtors”) each filed a voluntary petition under Chapter

 99   11 of the Bankruptcy Code on July 2, 2023 (the “Petition Date”). The Debtors continue to

10
10    operate their businesses, manage their financial affairs, and operate their bankruptcy estates as

11
11    debtors-in-possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code. Official

12
12    Committees of Unsecured Creditors were appointed in the Ittella and NMFD bankruptcy cases,

13
13    but not in TCI’s or the other Debtors’ bankruptcy cases.

14
14           2.      TCI is a publicly held company (NASDAQ: TTCF) offering a broad portfolio of

15
15    innovative plant-based frozen foods through the other Debtors, all of which are direct or indirect

16
16    subsidiaries of TCI. Beginning in 2017, the Debtors have supplied plant-based products to

17
17    leading retailers in the United States, with signature products such as ready-to-cook bowls,

18
18    zucchini spirals, riced cauliflower, acai and smoothie bowls, cauliflower crust pizza, wood fire

19
19    crusted pizza, handheld burritos, bars and quesadillas. The Debtors’ products are available in all

20
20    50 states both in private label and through their “Tattooed Chef™” brand mainly in the frozen

21
21    food section of retail food stores.

22
22           3.      The Debtors believe their innovative food offerings converge with consumer

23
23    trends and demands for great-tasting, wholesome, plant-based foods made from sustainably

24
24    sourced ingredients, including preferences for flexitarian, vegetarian, vegan, organic, and gluten-

25
25    free lifestyles. As of December 31, 2022, the Debtors’ products were sold in approximately

26
26    21,000 retail outlets in the United States. The Debtors’ brand strategy has been to introduce the

27
27    attributes of a plant-based lifestyle to build a connection with a broad array of consumers that are

28
28    seeking delicious, sustainably sourced, plant-based foods. The diverse offering of plant-based



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      Case 2:23-bk-14154-SK        Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                    Main Document    Page 10 of 66


 11   meals produced by the Debtors includes certified organic, non-GMO, certified Kosher, gluten-

 22   free, as well as plant protein elements that the Debtors believe provide health-conscious

 33   consumers an affordable, great tasting, clean label food option. As of December 31, 2022, the

 44   Debtors had 132 SKUs and over 175 plant-based food concepts and recipes under development

 55   and testing

 66          4.      The Debtors are led by their President and CEO, Salvatore “Sam” Galletti, who

 77   has over 35 years of experience in the food industry as both a manager and an investor, and

 88   Sarah Galletti, the Chief Creative Officer and the creator of the Tattooed Chef brand. The

 99   brand’s tagline, “Serving Plant-Based Foods to People Who Give a Crop,” aims to convey the

10
10    brand’s mission to deliver plant-based foods to consumers who care about sustainable and

11
11    ethically sourced foods.

12
12           5.      The Debtors, through their affiliate Ittella Italy SRL (“Ittella Italy”),3 operate a

13
13    100,000 square foot processing facility in Prossedi, Italy located in close proximity to many of

14
14    the growers that are the Debtors’ primary suppliers of produce. This facility opened in 2017 and

15
15    manufactures various products, including riced cauliflower (plain and value-added), diced

16
16    squash/zucchini, and vegetable spirals. Due to the location of the facility, the Debtors are able to

17
17    transport raw materials to the facility, process them, and manufacture products within a relatively

18
18    short time. Prior to each growing season, the Debtors obtain written commitments as to quantity

19
19    and price from various growers, who commit to supply the projected needs, which commitments

20
20    are then followed by written purchase orders closer to the start of the harvest season. When

21
21    necessary (whether as a result of greater than anticipated demand from customers, or poor crop

22
22    yields due to inclement weather, infestation and the like), the Debtors have been able to obtain

23
23    alternative raw material supply from other sources or on the spot market on satisfactory terms.

24
24    The Prossedi plant was originally leased from a third party. In April 2021, the Debtors spent

25
25    approximately $4.9 million to acquire this facility and its machinery to secure and upgrade the

26
26    frozen food manufacture capabilities. During the past two years, the Debtors improved their

27
27
      3
       Concurrently with the commencement of these bankruptcy cases, the Debtors’ Italian affiliate
28
28    commenced a restructuring process under Italian law.


                                                       6
      Case 2:23-bk-14154-SK        Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22               Desc
                                    Main Document    Page 11 of 66


 11   internal cold storage capabilities to better manage inventory and to capitalize on seasonal

 22   purchases of raw materials during peak harvest season.

 33          6.       In May 2021, TCI acquired NMFD and Karsten for a total purchase price of

 44   approximately $34.1 million, and, on December 21, 2021, through BCI, acquired substantially all

 55   of the assets and assumed certain liabilities from Belmont Confections, Inc. (located in Ohio) for

 66   a total purchase price of $16.7 million. In August 2022, TCI, through TTCF, entered into an

 77   equipment purchase agreement with Desert Premium Group, LLC pursuant to which the Debtors

 88   acquired certain manufacturing, production, and storage assets, organized workforce, as well as

 99   assumed a lease for an 80,000 square foot manufacturing facility located in Albuquerque, New

10
10    Mexico, for a purchase price of approximately $10.4 million.4

11
11           7.       The Debtors currently lease processing facilities in Paramount, California,

12
12    Albuquerque, New Mexico, and Youngstown, Ohio, a storage facility in Vernon, California,

13
13    approximately 270,000 square feet of cold storage facility in Ceccano, Italy and have a small

14
14    office suite lease in San Pedro, California. The Paramount facility also serves as the Debtors’

15
15    headquarters.

16
16           8.       As of December 31, 2022, the Debtors had approximately 800 full-time

17
17    employees in the United States and 140 full-time employees in Italy. None of the Debtors’

18
18    employees are represented by a labor union; they are either employed directly through the

19
19    Debtors or through a staffing agency.

20
20           9.       The Debtors own domestic copyrights and domestic and foreign trademarks,

21
21    trademark applications, registrations, and other proprietary rights that are important to their

22
22    business. The Debtors’ primary trademarks include the Tattooed Chef® and People Who Give a

23
23    Crop™.      In addition, the Debtors own the domain names: www.ittellafoods.com and

24
24    www.tattooedchef.com.

25
25

26
26    4
        TCI acquired all of the equity of Myjojo pursuant to an Agreement and Plan of Merger, dated
27
27    June 11, 2020, as amended on August 10, 2020. Myjojo has no operations, and its only asset is
      the membership interest in Ittella. In turn, Ittella owns the membership interest in ITLLC, a
28
28    California limited liability company, which owns equity interests in Ittella Italy.


                                                      7
      Case 2:23-bk-14154-SK          Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22             Desc
                                      Main Document    Page 12 of 66


 11             10.    When the Debtors went public in 2020, the brand had household awareness of

 22   under 6%, were available in only 4 major retailers nationwide, and were in less than 4,000 stores.

 33   Since then, brand awareness has grown to over 26% of households, and the Debtors’ products

 44   are carried by over 40 retailers in over 23,000 retail stores. The Debtors invested over $100

 55   million on marketing and in-store promotions to achieve this growth within such a short time

 66   period.

 77             11.    After the corporate acquisitions described above and the substantial outlay of

 88   funds to develop the market for the Debtors’ products, the Debtors found themselves short on

 99   cash. In August 2022, the Debtors engaged a financial advisor to pursue new financing through

10
10    a “PIPE”5 transaction whereby an institutional or accredited investor would acquire shares in

11
11    TCI at a below market price, or through other financing methods that might be available to the

12
12    Debtors. In October, the Debtors’ auditors advised the Debtors that certain adjustments and

13
13    restatements to their financial statements were required, which affected the Debtors’ financial

14
14    statements for the preceding six financial quarters.

15
15              12.    Over the next 8 months, the Debtors diligently explored alternative financing and

16
16    funding solutions. However, due to the Debtors’ restated financial statements, changes in the

17
17    capital markets, and the general economic conditions affecting the Debtors’ market segment, the

18
18    Debtors were unable to obtain any new financing. Although the Debtors experienced revenue

19
19    growth from $147 million in 2020 to $230 million in 2022, TCI’s share price declined

20
20    dramatically, particularly over the first quarter of 2023. During this time period, the Debtors’

21
21    liquidity became constrained and the Debtors fell behind on payments to suppliers and other

22
22    parties necessary to the continued operation and profitability of their business.

23
23              13.    Although the Debtors have done everything possible to reduce operating expenses

24
24    over the last nine months, such reduction in expenses has not resulted in sufficient savings to

25
25    preserve the Debtors’ ability to timely pay its obligations and satisfy customer demand. In

26
26    addition, the costs of compliance with public company reporting and other requirements have

27
27
      5
28
28        Private investment in public equity.


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      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22               Desc
                                     Main Document    Page 13 of 66


 11   been substantial. As a result of the Debtors’ inability to obtain new financing and materially

 22   reduce operating and other expenses, the Debtors ultimately decided to commence these

 33   bankruptcy cases in order to expeditiously pursue a sale of some or all of their assets.

 44          14.     Prior to the Petition Date, TCI entered into an agreement with JC Ford (“JCF”),

 55   pursuant to which TCI acquired certain machinery and equipment manufactured by JCF, to be

 66   used by Karsten to manufacture Tattooed Chef branded salty snacks, Mexican entrees, traditional

 77   entree bowls and private label products.6 As a condition of the purchase from JCF, JCF obtained

 88   a security interest in the equipment sold to TCI until such time as the full purchase price for the

 99   equipment was paid. As of the Petition Date, the balance of the purchase price still owed to JCF

10
10    was $910,318.15 (the “JCF Claim”). JCF properly perfected its security interest by recording a

11
11    UCC-1 against TCI with the Delaware Secretary of State, which is the state where TCI was

12
12    incorporated. A true and correct copy of JCF’s UCC-1 obtained from the Delaware Secretary of

13
13    State is attached hereto as Exhibit “2.”

14
14           15.     After the Petition Date, the Debtors filed their Emergency Motion of Debtors for

15
15    Entry of Interim and Final Orders (I) Authorizing Debtors to Obtain Postpetition Financing, (II)

16
16    Authorizing Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority

17
17    Administrative Expense Claims, (IV) Granting Adequate Protection, (V) Modifying Automatic

18
18    Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief (the “DIP Motion”)

19
19    [Itella Doc. No. 8]. The Court entered an interim order (the “Interim DIP Order”) [Itella Doc.

20
20    No. 77] granting the DIP Motion on an interim basis and a final order (the “Final DIP Order”)

21
21    [Itella Doc. No. 275] granting the DIP Motion on a final basis. Pursuant to the Interim DIP

22
22    Order, UMB Bank, n.a. (“UMB”), the Debtors pre-Petition Date and debtor in possession lender,

23
23    perfected its security interest in TCI’s assets to secure the $3,000,000 New Money DIP Loans

24
24    and $3,000,000 DIP Roll-Up Loans made by UMB to the Debtors by recording a UCC-1 against

25
25
      6
        Based upon the Debtors’ internal accounting system and the fact that the equipment was used
26
26
      by Karsten in its facility, the Karsten Schedules of Assets and Liabilities (Karsten Doc. No. 22)
27
27    identify the Transferred Assets as property of the Karsten estate. Title to the Transferred Assets
      was transferred to TCI in the sale transaction with JCF, and there has never been a formal
28
28    transfer of title from TCI to Karsten.


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      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22               Desc
                                     Main Document    Page 14 of 66


 11   TCI with the Delaware Secretary of State, which is the state where TCI was incorporated. A true

 22   and correct copy of the current UCC-1 Report obtained from the Delaware Secretary of State,

 33   which shows UMB’s lien, is attached hereto as Exhibit “3.”

 44          16.     As part of their restructuring efforts prior to the commencement of their

 55   bankruptcy case, representatives of the Debtors, which include TCI, contacted JCF to explore the

 66   possibility of a sale of the equipment and to find out whether JCF could identify any potential

 77   buyers for the equipment. TCI entered into negotiations with Naturasol, a Sociedad Anónima de

 88   Capital Variable (“Buyer”) to acquire the equipment, and reached an agreement regarding the

 99   terms and conditions for the sale of the equipment for a purchase price of $5,750,000.7

10
10           17.     The offer made by Buyer was roughly equal to TCI’s cost of acquiring the

11
11    equipment from JCF, less the costs associated with installing the equipment when it was

12
12    purchased. As such, the Debtors determined that it was in the best interests of TCI, its estate and

13
13    its creditors to proceed with a sale of the designated assets. As of the date of this Motion, TCI

14
14    has received no other offers to acquire the assets to be sold to Buyer.8

15
15           18.     The Debtors engaged SC&H Group, Inc. (“SCH”) as their investment banker to

16
16    market and manage a sales process for their assets, in whole or in part.9 Because the Debtors

17
17    believe that the purchase price to be paid for TCI’s assets represents fair market value, and

18
18    because the proposed transaction is an all-cash deal with no contingencies other than Bankruptcy

19
19

20
20
      7
        After the Petition Date, Buyer revised its offer to reduce the purchase price to $5,000,000. As a
21
21    result of arm’s length, good faith negotiations, TCI was able to get Buyer to proceed on the
      original terms negotiated, i.e., a purchase price of $5,750,000.
22
22
      8
        The assets which are to be sold to Buyer have been listed by the Debtors’ investment banker
23
23    among the assets generally being offered for sale, and information regarding the assets which are
      the subject of this Motion has been available to any and all interested parties through the data
24
24
      room that has been established. No party other than Buyer has expressed an interest in acquiring
25
25    just the assets which are to be sold to Buyer. Nonetheless, the Debtors will provide notice of the
      hearing on this Motion and the opportunity to bid for the assets to be sold to any party who has
26
26    executed a non-disclosure agreement and accessed the data room, provided that SCH (as defined
      below) has an email address or mailing address for such party.
27
27    9
       See application to employ SCH [Ittella Doc. No. 110] and the order thereon [Ittella Doc. No.
28
28    171].


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      Case 2:23-bk-14154-SK          Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22               Desc
                                      Main Document    Page 15 of 66


 11   Court approval, after consultation with SCH, the Debtors have determined that it is in all parties’

 22   best interests to sell TCI’s assets separately from all of the other assets to be sold.

 33           19.     TCI’s Schedules of Assets and Liabilities (TCI Doc. No. 22) reflect only two

 44   creditors with liquidated claims: UMB, holding a claim of approximately $19,000,00010 secured

 55   by a lien on all of TCI’s assets, and an intercompany claim by Ittella in the amount of

 66   approximately $34.5 million. JCF was mistakenly listed as an unsecured creditor with no

 77   liquidated claim.

 88   B.      Proposed Terms Of The Sale.11

 99            19.    The APA, a true and correct copy of which is attached as Exhibit “1” to the

10
10     annexed Bidanset Declaration, contemplates the sale and transfer of certain assets of TCI, as

11
11     more particularly described in Exhibit “A” to the APA (collectively, the “Transferred Assets”),

12
12     free and clear of all liens, claims, encumbrances, and interests,12 to Buyer for cash in the amount

13
13     of $5,750,000 (the “Purchase Price”).

14
14            20.     Under the terms of the APA, the Purchase Price to be paid by Buyer for the

15
15    Transferred Assets is comprised of the following: (a) a non-refundable cash deposit in the

16
16    amount of $2,000,000 upon execution of the APA, (b) the remaining balance payable prior to the

17
17    removal of the Transferred Assets from the Karsten facility, but in no event later than 3 weeks

18
18    after Bankruptcy Court approval of the sale. There are no conditions to Buyer’s offer other than

19
19    Bankruptcy Court approval, and there are no contingencies that must be addressed before Buyer

20
20    will close. The Transferred Assets are to be sold to Buyer “as is” and “where is” with no

21
21
      10
         Although UMB might have the right to credit bid for the Transferred Assets pursuant to
22
22
      Section 363(k) of the Bankruptcy Code, UMB has advised TCI that it does not intend to exercise
23
23    such right.
      11
         The following is a summary of the principal terms of the sale of TCI’s assets pursuant to the
24
24
      APA, and is not intended to be a comprehensive recitation of the terms and conditions set forth
25
25    in the APA. In the event of any inconsistency between the summary set forth herein and the
      APA itself, the APA shall control.
26
26    12
        Any and all valid liens, claims, encumbrances or interests that were perfected as of the
27
27    Petition Date shall attach to the proceeds of the sale once received by TCI. As part of this
      Motion, TCI is requesting authority to distribute the sale proceeds to UMB and JCF in the
28
28    amounts set forth herein.


                                                        11
      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                     Main Document    Page 16 of 66


 11   representations or warranties by TCI other than it is the lawful owner of the Transferred Assets

 22   and, upon approval of the sale, shall transfer the Transferred Assets free and clear of all liens and

 33   encumbrances. See APA, ¶ 4.

 44          21.     SCH has discussed the sale process with Buyer, and have obtained Buyer’s

 55   consent to allow TCI to solicit higher and better bids to acquire the Transferred Assets. TCI

 66   contemplates the consideration of competing bids at the hearing on this Motion. In order to

 77   participate in the auction for the Transferred Assets, by not later than 2 business days prior to the

 88   hearing on the Motion, a prospective bidder must (a) deliver a cashier’s check in the amount of

 99   $575,000 to counsel for the Debtors; (b) provide proof of the bidder’s ability to pay the

10
10    remainder of the purchase price in cash upon closing which shall occur no later than 3 weeks

11
11    following entry of an order approving the proposed sale; and (c) agree to proceed with the

12
12    acquisition of the Transferred Assets on all of the same terms and conditions set forth in the APA

13
13    (other than the identity of Buyer and the purchase price), including, without limitation, the

14
14    absence of any conditions to closing other than entry of an order approving the sale and

15
15    identifying the bidder as the winning bidder. Any competing bid made at the hearing on the

16
16    Motion must be not less than $50,000 more than the prior highest bid, and the bidding shall

17
17    continue until no further bids are made by any participant in the auction. Neither Buyer nor any

18
18    competing bidder shall be entitled to a break-up fee, any expense reimbursement, or any

19
19    administrative claim for a “substantial contribution” claim under 11 U.S.C. § 503(b)(3) or (4), or

20
20    any similar claim, in connection, with the sale.13

21
21           22.     At the conclusion of the auction, if any, TCI shall identify the “winning” bidder

22
22    and may designate another party as a “backup” bidder in the event the winning bidder does not

23
23    proceed with the transaction. If a party is designated as a “winning” bidder and, through no fault

24
24    of TCI, fails to close within the established deadline, such bidder shall forfeit its deposit, and

25
25

26
26    13
        SCH is not seeking payment of a fee upon the closing of the sale of the Transferred Assets.
27
27    However, upon the close of the sale of other assets, SCH will seek the payment of a fee
      consistent with its approved employment application in connection with the sale of the
28
28    Transferred Assets.


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      Case 2:23-bk-14154-SK           Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22             Desc
                                       Main Document    Page 17 of 66


 11   TCI can proceed to close a transaction with the designated “backup” bidder.

 22           23.     If no party satisfies the conditions to participating in an auction for the

 33   Transferred Assets prior to the hearing on the Motion, TCI will advise the Court that no auction

 44   will be necessary, and will seek approval of the APA and the sale to Buyer on the terms and

 55   conditions set forth therein.

 66           24.     Given that the only creditors of TCI are UMB, JCF and Ittella, TCI has reached

 77   an agreement with UMB that the proceeds from the sale shall be allocated as follows: (a) an

 88   amount equal to the JCF Claim to JCF to satisfy the JCF Claim and extinguish JCF’s lien and (B)

 99   the remainder (approximately $4,840,000) distributed to UMB to be first applied to fully repay

10
10    the DIP Roll-Up Loans (as defined in the Final DIP Order) and thereafter to be applied to reduce

11
11    the Lender Allowed Claim (as defined in the Final DIP Order). Additionally, the Debtors will

12
12    submit an Updated Budget that reduces the Permitted Overformula Amount by the amount of

13
13    such paydown. If the proposed distribution of the sale proceeds is not approved by the Court, the

14
14    proceeds will be held in a segregated blocked debtor-in-possession account at UMB and UMB’s

15
15    lien and JCF’s lien shall attach to the proceeds of the sale in the same priority and to the same

16
16    extent and validity as their respective pre-petition liens.

17
17            25.     Under the circumstances, and, in particular, given the straightforward nature of

18
18    the proposed sale to Buyer, TCI has determined that the proposed sale is in its best interests, and

19
19    in the best interests of its estate and creditors.

20
20                                                         II.

21
21                                                 DISCUSSION

22
22    A.      The Court Should Authorize TCI To Sell The Transferred Assets To Buyer Or The

23
23            Successful Bidder.

24
24            Section 363(b) of the Bankruptcy Code provides that a debtor “after notice and a hearing,

25
25    may use, sell or lease, other than in the ordinary course of business, property of the estate.” To

26
26    approve a use, sale or lease of property other than in the ordinary course of business, the court

27
27    must find “some articulated business justification.” See, e.g., In re Martin (Myers v. Martin), 91

28
28    F.3d 389, 395 (3d Cir. 1996) citing In re Schipper (Fulton State Bank v. Schipper), 933 F.2d 513,


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      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                    Desc
                                     Main Document    Page 18 of 66


 11   515 (7th Cir. 1991); Comm. of Equity SEC Holders v. Lionel Corp. (In re Lionel Corp.), 722

 22   F.2d 1063, 1070 (2d Cir. 1983); In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143 (3d

 33   Cir. 1986) (implicitly adopting the “sound business judgment” test of Lionel Corp. and requiring

 44   good faith); In re Delaware and Hudson Ry. Co., 124 B.R. 169 (D. Del. 1991) (concluding that

 55   the Third Circuit adopted the “sound business judgment” test in the Abbotts Dairies decision).

 66          In the Ninth Circuit, “cause” exists for authorizing a sale of estate assets if it is in the best

 77   interest of the estate, and a business justification exists for authorizing the sale.            In re

 88   Huntington, Ltd., 654 F.2d 578 (9th Cir. 1981); Walter v. Sunwest Bank (In re Walter), 83 B.R.

 99   14, 19-20 (9th Cir. BAP 1988). The Ninth Circuit has also held that section 363 allows the sale

10
10    of substantially all assets of a debtor’s bankruptcy estate after notice and a hearing. In re Qintex

11
11    Entertainment, Inc., 950 F.2d 1492 (9th Cir. 1991).

12
12           In determining whether a sale satisfies the business judgment standard, courts have held

13
13    that: (1) there be a sound business reason for the sale; (2) accurate and reasonable notice of the

14
14    sale be given to interested persons; (3) the sale yield an adequate price (i.e., one that is fair and

15
15    reasonable); and (4) the parties to the sale have acted in good faith. Titusville Country Club v.

16
16    Pennbank (In re Titusville Country Club), 128 B.R. 396, 399 (Bankr. W.D. Pa. 1991); see also,

17
17    In re Walter, 83 B.R. at 19-20.

18
18           TCI submits that the proposed sale of the Transferred Assets to Buyer (or a successful

19
19    competing bidder after conclusion of the auction, if any) comports with each of these four

20
20    criteria and demonstrates that TCI’s business judgment to proceed with the sale and Auction of

21
21    the Transferred Assets is sound.

22
22           1.      Sound Business Purpose

23
23           There must be some articulated business justification, other than appeasement of major

24
24    creditors, for using, selling or leasing property out of the ordinary course of business before the

25
25    bankruptcy court may order such disposition under Section 363(b). In re Lionel Corp., 722 F.2d

26
26    at 1070. The Ninth Circuit Bankruptcy Appellate Panel in In re Walter, supra, 83 B.R. at 19, has

27
27    adopted a flexible case-by-case test to determine whether the business purpose for a proposed

28
28    sale justifies disposition of property of the estate under Section 363(b).             In Walter, the


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      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                     Main Document    Page 19 of 66


 11   Bankruptcy Appellate Panel, adopting the reasoning of the Fifth Circuit in In re Continental

 22   Airlines, Inc., 780 F.2d 1223 (5th Cir. 1986) and the Second Circuit in In re Lionel Corp., supra,

 33   articulated the standard to be applied under Section 363(b) as follows:

 44                  Whether the proffered business justification is sufficient depends
 55                  on the case. As the Second Circuit held in Lionel, the bankruptcy
                     judge should consider all salient factors pertaining to the
 66                  proceeding and, accordingly, act to further the diverse interests of
                     the Debtor, creditors and equity holders, alike. He might, for
 77                  example, look to such relevant facts as the proportionate value of
                     the asset to the estate as a whole, the amount of elapsed time since
 88
                     the filing, the likelihood that a plan of reorganization will be
 99                  proposed and confirmed in the near future, the effect of the
                     proposed disposition on future plans of reorganization, the
10
10                   proceeds to be obtained from the disposition vis-à-vis any
                     appraisals of the property, which of the alternatives of use, sale or
11
11                   lease the proposal envisions and, most importantly perhaps,
                     whether the asset is increasing or decreasing in value. This list is
12
12
                     not intended to be exclusive, but merely to provide guidance to the
13
13                   bankruptcy judge.

14
14

15
15    In re Walter, 83 B.R. at 19-20, citing In re Continental Air Lines, Inc., 780 F.2d 1223, 1226 (5th

16
16    Cir. 1986).

17
17           The facts pertaining to TCI’s proposed sale of the Transferred Assets to Buyer clearly

18
18    substantiate TCI’s conclusion, based on TCI’s business judgment, that such contemplated sale

19
19    serves the best interests of TCI’s estates and creditors, and merits the approval of the Court. As

20
20    noted above, TCI, with the assistance of SCH and chief restructuring officer, solicited offers for

21
21    the Transferred Assets, and evaluated the Purchase Price relative to the original cost of the

22
22    Transferred Assets. The terms and conditions negotiated with Buyer, particularly once exposed

23
23    to potential overbidding, are reflective of the fair market value of the Transferred Assets.

24
24           At this point, given that the Debtors are already pursuing a sale of all or any part of their

25
25    assets and are continuing to wind down their business operations, TCI has concluded that the

26
26    best outcome for its bankruptcy estate and limited creditors would be to proceed with an

27
27    expeditious sale of the Transferred Assets to Buyer (or a successful competing bidder). There is

28
28    no guarantee that any prospective purchaser for the other Debtors’ assets would offer a price



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      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                   Desc
                                     Main Document    Page 20 of 66


 11   which would allocate a greater value to the Transferred Assets than that reflected in the Purchase

 22   Price negotiated with Buyer. This is the classic case of “a bird in the hand beats two in the bush”

 33   – rather than hold out for a bid that might include other assets of the estates, TCI, in the exercise

 44   of its sound business judgment, believes that availing itself of the transaction with Buyer makes

 55   sense and eliminates the risk that any future proposal would be at a price less (or subject to more

 66   conditions) than the terms reflected in the APA. To assist the Debtors’ cashflow, SCH is not

 77   seeking payment of a fee upon the closing of the sale of the Transferred Assets. However, upon

 88   the close of the sale of other assets, SCH will seek the payment of a fee consistent with its

 99   approved employment application in connection with the sale of the Transferred Assets.

10
10           Based on the foregoing, TCI believes that the proposed sale of the Transferred Assets is

11
11    in the overwhelming best interests of TCI’s estate and creditors.

12
12           2.      Accurate and Reasonable Notice

13
13           In connection with a proposed sale under Section 363 of the Bankruptcy Code, “four

14
14    pieces of information must be presented to the creditors. The notice should: place all parties on

15
15    notice that the debtor is selling its business; disclose accurately the full terms of the sale; explain

16
16    the effect of the sale as terminating the debtor’s ability to continue in business; and explain why

17
17    the proposed price is reasonable and why the sale is in the best interest of the estate.” In re

18
18    Delaware & Hudson Railway Co., 124 B.R. 169, 180 (D. Del. 1991). A notice is sufficient if it

19
19    includes the terms and conditions of the sale and if it states the time for filing objections. In re

20
20    Karpe, 84 B.R. 926, 930 (Bankr. M.D. Pa. 1988). The purpose of the notice is to provide an

21
21    opportunity for objections and hearing before the court if there are objections. Id.

22
22           Section 363(b)(1) provides that a debtor, “after notice and a hearing, may use, sell or

23
23    lease, other than in the ordinary course of business, property of the estate.”             11 U.S.C.

24
24    § 363(b)(1). Section 102(1) defines “after notice and a hearing” as after such notice as is

25
25    appropriate in the particular circumstances, and such opportunity for hearing as is appropriate in

26
26    the particular circumstances. 11 U.S.C. § 102(1)(A).

27
27           Rule 6004(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

28
28    provides in pertinent part that notice of a proposed sale not in the ordinary course of business


                                                        16
      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                     Main Document    Page 21 of 66


 11   must be given pursuant to Bankruptcy Rule 2002(a)(2), (c)(1), (i) and (k), and, if applicable, in

 22   accordance with Section 363(b)(2) of the Bankruptcy Code.              Fed. R. Bankr. P. 6004(a).

 33   Bankruptcy Rule 2002(a)(2) requires at least 21 days’ notice by mail of a proposed sale of

 44   property of the estate other than in the ordinary course of business, unless the Court for cause

 55   shown shortens the time or directs another method of giving notice.             Fed. R. Bankr. P.

 66   2002(a)(2). Bankruptcy Rule 2002(c)(1) requires that the notice of a proposed sale include the

 77   date, time and place of any public sale, the terms and conditions of any private sale, and the time

 88   fixed for filing objections. It also provides that the notice of sale or property is sufficient if it

 99   generally describes the property. Fed. R. Bankr. P. 2002(c)(1). Bankruptcy Rule 2002(i)

10
10    requires that the notice be mailed to committees elected pursuant to 11 U.S.C. § 705 or appointed

11
11    pursuant to 11 U.S.C. § 1102. Fed. R. Bankr. P. 2002(i). Bankruptcy Rule 2002(k) requires that

12
12    the notice be given to the United States Trustee. Fed. R. Bankr. P. 2002(k).

13
13           Bankruptcy Rule 6004(c) provides that a motion for authority to sell property free and

14
14    clear of liens or other interests must be made in accordance with Bankruptcy Rule 9014 and must

15
15    be served on the parties who have liens or other interests in the property to be sold. Fed. R.

16
16    Bankr. P. 6004(c).

17
17           Local Bankruptcy Rule 9013-1(d)(2) requires that a notice of motion and motion be

18
18    served at least 21 days before the hearing on the date specified in the notice. L.B.R. 9013-

19
19    1(d)(2).

20
20           In addition, Local Bankruptcy Rule 6007-1(f) requires that an additional copy of the

21
21    Notice be submitted to the Clerk of the Bankruptcy Court together with a document Form 6004-2

22
22    at the time of filing for purposes of publication. L.B.R. 6007-1(f).

23
23           TCI has complied with all of the above provisions of the Bankruptcy Code, the

24
24    Bankruptcy Rules and the Local Bankruptcy Rules, as modified by the Court’s ruling and soon to

25
25    be entered order on the Debtors’ motion to limit notice. TCI has complied with Bankruptcy

26
26    Rules 6004(a) and 2002(a)(2), (c)(1), (i) and (k), as modified by the Court’s ruling and soon to

27
27    be entered order on the Debtors’ motion to limit notice, because a notice of this Motion (the

28
28    “Notice”) has been filed contemporaneously herewith, which includes the date, time and place of


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      Case 2:23-bk-14154-SK          Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22             Desc
                                      Main Document    Page 22 of 66


 11   the hearing on this Motion (including the opportunity to participate in an auction at the time of

 22   the hearing) (the “Sale Hearing”) as well as the deadline for objecting to the Motion, and such

 33   Notice has been served on the United States Trustee, the Buyer, JCF, the 20 largest creditors in

 44   each of the Debtors’ cases, all parties receiving ECF notice, including proposed counsel to the

 55   Official Committees of Unsecured Creditors appointed in the Ittella and NMFD cases, and all

 66   parties requesting special notice in each of the Debtors’ cases. Because of the limited number of

 77   TCI creditors, this Motion has also been served upon the United States Trustee, the Buyer, JCF,

 88   all parties receiving ECF notice, including proposed counsel to the Official Committees of

 99   Unsecured Creditors appointed in the Ittella and NMFD cases, and all parties requesting special

10
10    notice in each of the Debtors’ cases. In addition, within one day of the filing hereof, the Notice

11
11    will be served by email or U.S. Mail on all parties that have executed non-disclosure agreements

12
12    and accessed the data room established by SCH, provided that SCH has an email address or

13
13    mailing address for such party. TCI has complied with Bankruptcy Rule 6004(c) because the

14
14    Notice and this Motion have also been served upon the parties who have alleged liens or interests

15
15    in the Transferred Assets. TCI has complied with the requirements of Local Bankruptcy Rule

16
16    6007-1(f) because TCI has filed the Notice and Form 6004-2 with the Clerk of the Bankruptcy

17
17    Court.

18
18             Based on the foregoing, TCI respectfully submits that adequate, accurate and reasonable

19
19    notice of the proposed sale of the Transferred Assets has been provided to creditors and other

20
20    parties in interest in TCI’s case.

21
21             3.     Fair and Reasonable Price

22
22             In order for a sale to be approved under Section 363(b), the purchase price must be fair

23
23    and reasonable. See generally, In re Canyon Partnership, 55 B.R. 520 (Bankr. S.D. Cal. 1985).

24
24    The trustee (or debtor in possession) is given substantial discretion in this regard. Id. In

25
25    addition, Courts have broad discretion with respect to matters under section 363(b). See Big

26
26    Shanty Land Corp. v. Comer Properties, Inc., 61 B.R. 272, 278 (Bankr. N.D. Ga. 1985). In any

27
27    sale of estate assets, the ultimate purpose is to obtain the highest price for the property sold.

28
28    Wilde Horse Enterprises, Inc., 136 B.R. at 841 (citing In re Chung King, Inc., 753 F.2d 547 (7th


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      Case 2:23-bk-14154-SK        Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                    Main Document    Page 23 of 66


 11   Cir. 1985)), In re Alpha Industries, Inc., 84 B.R. 703, 705 (Bankr. Mont. 1988).

 22          TCI, with the assistance of knowledgeable and experienced professionals, has sought out

 33   the most likely purchasers for the Transferred Assets and negotiated the Purchase Price at arm’s

 44   length. Given the straightforward nature of the transaction, TCI believes that the proposed sale

 55   of the Transferred Assets to Buyer is the best possible outcome for TCI’s estate and creditors,

 66   and that the Purchase Price offered by Buyer represents the fair market value of the Transferred

 77   Assets under the current circumstances. Notwithstanding the foregoing, in an effort to obtain the

 88   highest possible price for the Transferred Assets, TCI has obtained the agreement of Buyer to

 99   subject the Transferred Assets to overbid; TCI believes that subjecting the Transferred Assets to

10
10    overbid and auction will foster competitive bidding among any serious potential buyers and

11
11    ensure that the highest possible purchase price is obtained for the Transferred Assets. Based on

12
12    the foregoing, TCI submits that the ultimate purchase price paid by Buyer or a successful

13
13    competing bidder for the Transferred Assets is fair and reasonable and reasonably equates to the

14
14    fair market value of the Transferred Assets, and should therefore be approved by the Court.

15
15           4.      Good Faith

16
16           When a bankruptcy court authorizes a sale of assets pursuant to Section 363(b)(1), it is

17
17    required to make a finding with respect to the “good faith” of Buyer. In re Abbotts Dairies, 788

18
18    F.2d at 149.    Such a procedure ensures that Section 363(b)(1) will not be employed to

19
19    circumvent the creditor protections of Chapter 11, and as such, it mirrors the requirement of

20
20    Section 1129, that the Bankruptcy Court independently scrutinizes the debtor’s reorganization

21
21    plan and makes a finding that it has been proposed in good faith. Id. at 150.

22
22           “Good faith” encompasses fair value, and further speaks to the integrity of the

23
23    transaction. In re Wilde Horse Enterprises, 136 B.R. at 842. With respect to the debtor’s

24
24    conduct in conjunction with the sale, the good faith requirement “focuses principally on the

25
25    element of special treatment of the Debtor’s insiders in the sale transaction.” See In re Industrial

26
26    Valley Refrig. and Air Cond. Supplies, Inc., 77 B.R. 15, 17 (Bankr. E.D. Pa. 1987). With respect

27
27    to the buyer’s conduct, this Court should consider whether there is any evidence of “fraud,

28
28    collusion between Buyer and other bidders or the [debtor], or an attempt to take grossly unfair


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      Case 2:23-bk-14154-SK        Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                Desc
                                    Main Document    Page 24 of 66


 11   advantage of other bidders.” In re Abbotts Dairies, 788 F.2d at 147, In re Rock Indus. Mach.

 22   Corp., 572 F.2d 1195, 1198 (7th Cir. 1978); In re Wilde Horse Enterprises, Inc., 136 B.R. at

 33   842; In re Alpha Industries, Inc., 84 B.R. 703, 706 (Bankr. D. Mont. 1988). In short, “[l]ack of

 44   good faith is generally determined by fraudulent conduct during the sale proceedings.” In re

 55   Apex Oil Co., 92 B.R. 847, 869 (Bankr. E.D. Mo. 1988), citing In re Exennium, Inc., 715 F.2d

 66   1401, 1404-05 (9th Cir. 1983).

 77          In In re Filtercorp, Inc., 163 F.3d 570 (9th Cir. 1998), the Ninth Circuit set forth the

 88   following test for determining whether a buyer is a good faith Buyer:

 99                  A good faith buyer “is one who buys ‘in good faith’ and ‘for
10
10                   value.’” [citations omitted.] [L]ack of good faith is [typically]
                     shown by ‘fraud, collusion between the Buyer and other bidders or
11
11                   the trustee, or an attempt to take grossly unfair advantage of other
                     bidders.’” [citations omitted.]
12
12

13
13    Filtercorp, 163 F.3d at 577. The Ninth Circuit has stated that “[t]he essence of the [good faith]
14
14    test is whether or not under all the circumstances the transaction carries the earmarks of an arm’s
15
15    length bargain. If it does not, equity will set it aside.” In re Marquam Investment Corp., supra
16
16    at 1465; see also In re Harford Sands Inc., 372 F.3d 637, 641 (4th Cir. 2004); Fabricators Inc. v.
17
17    Technical Fabricators, Inc., 926 F.2d 1458 (5th Cir. 1991).
18
18           The negotiations with Buyer have been led by SCH and the Debtors’ chief restructuring
19
19    officer. As such, TCI is not aware of, and there is certainly no evidence of, any fraud or
20
20    collusion between Buyer and other bidders or TCI, nor is there any evidence of an attempt by
21
21    Buyer to take grossly unfair advantage of other bidders. As set forth in the annexed Bidanset
22
22    Declaration, approval of the proposed sale of the Transferred Assets to Buyer (or to a successful
23
23    competing bidder) is being sought in good faith in a manner designed to maximize the value of
24
24    the Transferred Assets.
25
25           Moreover, although the proponent of a sale has the initial burden of proving good faith,
26
26    once the proponent has presented evidence to the court to support a prima facie finding of good
27
27    faith, a party questioning the good faith of a sale must provide more than argument – such party
28
28    must provide evidence inconsistent with good faith that is sufficient to overcome evidence of


                                                      20
      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                     Main Document    Page 25 of 66


 11   good faith. See, In re M Capital Corporation, 290 B.R. 743, 747-48 (9th Cir. BAP 2003); see

 22   also, In re Del Grosso, 106 B.R. 165, 168 (Bankr. N.D. Ill. 1989) (in the context of a settlement,

 33   “[o]nce there is a showing that the settlement should be approved, the burden then shifts to the

 44   objecting party who cannot oppose the settlement by merely demanding more proof. ‘To allow

 55   the objectors to disrupt the settlement on the basis of nothing more than their unsupported

 66   suppositions would completely thwart the settlement process...’ (citation omitted)”); In re MCorp

 77   Financial, Inc., 160 B.R. 941, 954-55 (S.D. Tex. 1993) (mere fact that debtors had previously

 88   opposed settlement did not demonstrate that the settlement was proposed in bad faith; parties

 99   arguing bad faith should offer evidence of such bad faith).

10
10           Here, TCI has provided evidence, pursuant to the annexed Bidanset Declaration, to show

11
11    that the sale of the Transferred Assets to Buyer has been negotiated at arms’ length and has been

12
12    proposed in good faith. Accordingly, absent any evidence that the sale of the Transferred Assets

13
13    was negotiated in bad faith or not at arms’ length, the Court should conclude that TCI and Buyer

14
14    have acted, and are continuing to act, in good faith with respect to the sale of the Transferred

15
15    Assets. Based on the foregoing, TCI seeks a finding from the Court that Buyer (if it is the

16
16    successful bidder for the Transferred Assets) is a good faith purchaser pursuant to Section

17
17    363(m) of the Bankruptcy Code.

18
18           To the extent that there is at least one other party interested in bidding on the Transferred

19
19    Assets, the highest and best price possible for the Transferred Assets will be determined

20
20    following an open and transparent bidding process at the Sale Hearing. There is no fraud or

21
21    collusion expected in connection with the proposed auction of the Transferred Assets since each

22
22    bidder will have the opportunity to make an offer on the Transferred Assets (or any portion

23
23    thereof), which offer will be subject to competitive bidding by other parties entitled to participate

24
24    in the auction. Furthermore, TCI is not aware of any prospective bidder who has received any

25
25    special treatment, nor is TCI aware of any fraud, collusion or attempt to take unfair advantage of

26
26    other bidders or going concern sale buyers. Based on the foregoing, TCI respectfully submits

27
27    that the Court should find that the successful bidder at the Auction is a good faith Buyer entitled

28
28    to all of the protections afforded by Section 363(m) of the Bankruptcy Code.


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      Case 2:23-bk-14154-SK          Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                Desc
                                      Main Document    Page 26 of 66


 11   B.       The Sale Of The Property Should Be Free And Clear Of All Liens, Claims,

 22            Encumbrances And Other Interests Pursuant To 11 U.S.C. § 363(f).

 33            11 U.S.C. § 363(f) provides that a debtor may sell property of the estate “free and clear of

 44   any interest in such property” if:

 55
                      (1)     applicable non-bankruptcy law permits the sale of such
 66                           property free and clear of such interest;
 77                   (2)     such entity consents;
                      (3)     such interest is a lien and the price at which such
 88                           property is to be sold is greater than the aggregate value
                              of all liens on such property;
 99                   (4)     such interest is in bona fide dispute; or
                      (5)     such entity could be compelled, in a legal or equitable
10
10
                              proceeding, to accept a money satisfaction of such
11
11                            interest.

12
12
      11 U.S.C. § 363(f). Because Section 363(f) is in the disjunctive, TCI need only meet one of the
13
13
      five subsections of Section 363(f) in order to sell the Transferred Assets free and clear of all
14
14
      liens, claims, interests and encumbrances. In re Whittemore, 37 B.R. 93, 94 (Bankr. D. Or.
15
15
      1984).
16
16
               1.     The Proposed Sale Should Be Approved Under 11 U.S.C. § 363(f)(2).
17
17
               TCI submits that the proposed sale of the Transferred Assets should be authorized under
18
18
      11 U.S.C. § 363(f)(2). Section 363(f)(2) of the Bankruptcy Code authorizes a sale to be free and
19
19
      clear of an interest if the interest holder consents to the sale. The debt owed by TCI to UMB and
20
20
      JCF is the only secured debt that TCI is aware of. UMB has advised TCI that it consents to the
21
21
      proposed sale of the Transferred Assets, and TCI has proposed that the full amount of the JCF
22
22
      Claim be paid from the proceeds of the sale, so its consent can be presumed.
23
23
               The “consent” of an entity asserting an interest in the property sought to be sold, as
24
24
      referenced in 11 U.S.C. § 363(f)(2), can be implied if such entity fails to make a timely objection
25
25
      to the sale after receiving notice of the sale. In re Eliot, 94 B.R. 343, 345 (E.D. Pa. 1988). In the
26
26
      Eliot case, the bankruptcy court approved the sale by a trustee of certain real property that was
27
27
      subject to a mortgage in favor of Citicorp. Citicorp had received notice of the sale, but did not
28
28


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      Case 2:23-bk-14154-SK          Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                   Desc
                                      Main Document    Page 27 of 66


 11   file any timely objection to the sale. After the sale occurred, Citicorp filed a motion to set aside

 22   the sale, which was handled by the bankruptcy court as an adversary proceeding.                    The

 33   bankruptcy court dismissed the complaint to set aside the sale, and Citicorp appealed the ruling.

 44   The district court affirmed the dismissal, and, in so doing, stated:

 55
                     … if any of the five conditions of § 363(f) are met, the Trustee has
 66                  the authority to conduct the sale free and clear of all liens.
 77
                     In this case, the authority for the sale can be found in 11 U.S.C. §
 88                  363(f)(2). That section allows the Trustee to sell the property free
                     and clear of all liens because Citicorp consented to the sale.
 99                  Citicorp consented to the sale by failing to make any timely
                     objection after receiving notice of the sale. Citicorp contends
10
10
                     that implied consent is insufficient to satisfy the consent
11
11                   requirement of § 363(f)(2). I disagree.

12
12    Eliot, 94 B.R. at 345 (emphasis added). In its ruling, the Eliot court relied on In re Gabel, 61
13
13    B.R. 661 (Bankr. W.D. La. 1985), which held that implied consent is sufficient to authorize a
14
14    sale under § 363(f)(2). See also, In re Ex-Cel Concrete Company, Inc., 178 B.R. 198, 203 (9th
15
15    Cir. BAP 1995) [“The issue here is whether there was consent or non-opposition by Citicorp.”];
16
16    In re Paddlewheels, Inc., 2007 WL 1035151 (Bankr. E.D.La. April 2, 2007) [“The Sale Motion
17
17    complies with section 363(f) of the Bankruptcy Code, in that the Trustee either obtained the
18
18    consent of Whitney to the sale of the Vessel to Buyer or Whitney had no objection to the Sale.”].
19
19           Based upon the foregoing, TCI requests that the Court approve the sale of the Transferred
20
20    Assets to Buyer (or a successful competing bidder), free and clear of all liens, claims, interests
21
21    and encumbrances of any parties who assert such liens, claims, interests and encumbrances and
22
22    who do not file a timely objection to the sale and/or this Motion, by deeming all such parties to
23
23    have consented to the proposed sale of the Transferred Assets pursuant to 11 U.S.C. § 363(f)(2).
24
24    C.     TCI Requests That The Court Waive The Fourteen-Day Waiting Periods Set Forth
25
25           In Bankruptcy Rule 6004(h).
26
26           Bankruptcy Rule 6004(h) provides, among other things, that an order authorizing the use,
27
27    sale or lease of property . . . is stayed until the expiration of fourteen days after entry of the Court
28
28


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      Case 2:23-bk-14154-SK        Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                    Main Document    Page 28 of 66


 11   order, unless the Court orders otherwise. The purpose of Bankruptcy Rule 6004(h) is to provide

 22   sufficient time for an objecting party to appeal before an order can be implemented. See 10

 33   Collier on Bankruptcy ¶ 6004.11 at 6004-26 (Alan N. Resnick & Henry J. Sommer eds. 16th ed.

 44   2015). Although Bankruptcy Rule 6004(h) and the Advisory Committee Notes are silent as to

 55   when a court should “order otherwise” and eliminate or reduce the 14-day period, the leading

 66   treatise on bankruptcy suggests that the stay period should be eliminated to allow a sale or other

 77   transaction to close immediately “where there has been no objection to the procedure.” Id. at

 88   6004-22.

 99          For the reasons discussed above, TCI believes that it is critically important that TCI and

10
10    Buyer be permitted to consummate the sale of the Transferred Assets and proceed to the closing

11
11    as soon as possible after entry of an order granting this Motion. TCI is winding down its

12
12    operations, and continuing to maintain and preserve the Transferred Assets is not without cost to

13
13    its estate. Moreover, Buyer has expressed its desire to close as soon as possible so as to begin

14
14    the process of removing the Transferred Assets. Based on the foregoing, TCI respectfully

15
15    requests that the Court waive the fourteen day stay periods set forth in Bankruptcy Rule 6004(h)

16
16    to permit TCI to proceed immediately to close the sale of the Transferred Assets following the

17
17    entry of the sale order.

18
18                                                    III.

19
19                                             CONCLUSION

20
20           WHEREFORE, TCI respectfully requests that the Court enter an order:

21
21           (1)     finding that notice of the Motion and the hearing on the Motion was proper,

22
22    timely, adequate, appropriate and sufficient;

23
23           (2)     finding good, sufficient, and sound business purposes and justification and

24
24    compelling circumstances for the sale of the Transferred Assets prior to, and outside of, a plan of

25
25    reorganization;

26
26           (3)     finding that the APA was negotiated, proposed and entered into by the parties

27
27    thereto without collusion, in good faith, and from arms’ length bargaining positions, and that

28
28    Buyer (or a successful overbidder) is a good faith buyer entitled to all of the protections afforded


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      Case 2:23-bk-14154-SK           Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22               Desc
                                       Main Document    Page 29 of 66


 11   by 11 U.S.C. § 363(m);

 22           (4)     finding the consideration provided by Buyer (or a successful overbidder) for the

 33   Transferred Assets to (i) be fair and reasonable, (ii) be the highest or otherwise best offer for the

 44   Transferred Assets that was received, (iii) provide a greater recovery for TCI’s creditors than

 55   would be provided by any other practical available alternative, and (iv) constitute reasonably

 66   equivalent value and fair consideration under the circumstances of TCI’s bankruptcy case;

 77           (5)     finding that one or more of the standards set forth in 11 U.S.C. § 363(f)(1)-(5) has

 88   been satisfied for selling the Transferred Assets, free and clear of all liens, claims, encumbrances

 99   and other interests;

10
10            (6)     finding that approval of the APA and the consummation of the sale of the

11
11    Transferred Assets to Buyer (or a successful overbidder) is in the best interests of TCI, its estate,

12
12    its creditors, and other parties in interest;

13
13            (7)     authorizing TCI to (a) enter into the APA, in substantially the form attached as

14
14    Exhibit “1” to the Bidanset Declaration, (b) sell and transfer the Transferred Assets to Buyer (or

15
15    a successful overbidder), free and clear of all liens, claims, encumbrances and interests of any

16
16    kind or nature whatsoever other than as may be provided in the APA, such that the Sale Order

17
17    shall be effective as a determination that any and all liens, claims, encumbrances and interests

18
18    shall be, and are, released with respect to the Transferred Assets as of the Closing, except that

19
19    such liens, claims, encumbrances and interests shall attach to TCI’s interest in the sale proceeds

20
20    in the order of their priority, with the same validity, force and effect as they had in the

21
21    Transferred Assets, subject to any rights, claims and defenses of TCI, and, (c) upon Closing,

22
22    authorizing TCI to distribute the proceeds of the sale to any creditors holding valid liens against

23
23    the Transferred Assets; as follows: (i) an amount equal to the JCF Claim to JCF to satisfy the

24
24    JCF Claim and extinguish JCF’s lien and (ii) the remainder (approximately $4,840,000)

25
25    distributed to UMB to be first applied to fully repay the DIP Roll-Up Loans (as defined in the

26
26    Final DIP Order) and thereafter to be applied to reduce the Lender Allowed Claim (as defined in

27
27    the Final DIP Order), provided that, if the proposed distribution of the sale proceeds is not

28
28    approved by the Court, the proceeds will be held in a segregated blocked debtor-in-possession


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      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                     Main Document    Page 30 of 66


 11   account at UMB and UMB’s lien and JCF’s lien shall attach to the proceeds of the sale in the

 22   same priority and to the same extent and validity as their respective pre-petition liens;

 33          (8)     authorizing TCI to execute and deliver such additional agreements and

 44   documents, and take any and all further actions, as may be reasonably requested by Buyer (or a

 55   successful overbidder) to implement the terms of the APA;

 66          (9)     determining that Buyer (or a successful overbidder) is not a successor under

 77   theories of successor liability, vicarious liability or otherwise, to TCI, and shall not be deemed or

 88   found to have merged with or into TCI;

 99          (10)    waiving the 14-day stay periods set forth in Bankruptcy Rule 6004(h); and

10
10           (11)    granting such other and further relief as the Court deems just and proper.

11
11    Dated: August 16, 2023                        TATTOOED CHEF, INC.
12
12

13
13                                                  By:     /s/ David L. Neale
                                                            DAVID L. NEALE
14
14                                                          TODD M. ARNOLD
                                                            ROBERT M. CARRASCO
15
15
                                                            LEVENE, NEALE, BENDER,
16
16                                                                 YOO & GOLUBCHIK L.L.P.
                                                            Proposed Attorneys for Debtors and
17
17                                                          Debtors in Possession

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      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22            Desc
                                     Main Document    Page 31 of 66


 11                            DECLARATION OF EDWARD BIDANSET
 22          I, Edward Bidanset, hereby declare as follows:

 33          1.      Except where otherwise stated, I have personal knowledge of the facts set forth

 44   below and, if called to testify, would and could competently testify thereto.

 55          2.      I make this declaration in support of the Motion to which this declaration is

 66   attached. Unless otherwise stated, all capitalized terms herein have the same meanings as in the

 77   foroegoing Motion.

 88          3.      I serve as the Chief Restructuring Officer of the Debtors in the above-captioned,

 99   jointly administered, Chapter 11 bankruptcy cases pursuant to the Court’s order [Itella Doc. No.

10
10    121] granting the Debtors’ Emergency Motion For Entry Of An Order (1) Authorizing The

11
11    Retention Of Cutsheet Express, LLC [“CE”]; (2) Authorizing The Designation Of Edward

12
12    Bidanset As Chief Restructuring Officer Effective As Of The Petition Date; And (3) Granting

13
13    Related Relief [Itella Doc. No. 11].

14
14           4.      I am the sole member, manager, and employee of CE, which is an internationally

15
15    recognized restructuring and turnaround firm with substantial experience in providing interim

16
16    management and financial advisory services and has an excellent reputation for its work in

17
17    complex situations including in Chapter 11 cases on behalf of debtors and creditors throughout

18
18    the United States.

19
19           5.      I am a turnaround executive with more than 35 years of financial consulting and

20
20    management experience. I have an extensive background in turnarounds, crisis management,

21
21    investment banking, and sales of assets in and out of bankruptcy cases. I have worked with both

22
22    Fortune 500 firms and privately held companies, acting as an advisory consultant or taking on

23
23    the role of CRO, CFO or COO. I have particular expertise working with companies in the

24
24    consumer products, food processing, retail, printing, plastics and metals industries.

25
25           6.      I have been a member of the Turnaround Management Association (TMA) and

26
26    the Financial Executives Institute. I hold a Bachelor's degree in Economics from the State

27
27    University of New York (SUNY) at Cortland and an MBA from Duke University's Fuqua School

28
28    of Business.


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      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                Desc
                                     Main Document    Page 32 of 66


 11          7.      I have reviewed and am familiar with and am knowledgeable about the books and

 22   records of the Debtors, which books and records are made in the regular practice of business,

 33   kept in the regular course of business, made by a person with knowledge of the events and

 44   information related thereto, and made at or near the time of events and information recorded.

 55          8.      Ittella International LLC (“Ittella”), Ittella’s Chef, LLC (“ICLLC”), Tattooed

 66   Chef, Inc., (“TCI”) Myjojo, Inc., (“Myjojo”) New Mexico Food Distributors, Inc., (“NMFD”)

 77   Karsten Tortilla Factory, LLC, (“Karsten”), BCI Acquisition, Inc., (“BCI”) and TTCF-NM

 88   Holdings Inc., (“TTCF”) the debtors and debtors-in-possession in the above-captioned Chapter

 99   11 bankruptcy cases (collectively, the “Debtors”) each filed a voluntary petition under Chapter

10
10    11 of the Bankruptcy Code on July 2, 2023 (the “Petition Date”).

11
11           9.      TCI is a publicly held company (NASDAQ: TTCF) offering a broad portfolio of

12
12    innovative plant-based frozen foods through the other Debtors, all of which are direct or indirect

13
13    subsidiaries of TCI. Beginning in 2017, the Debtors have supplied plant-based products to

14
14    leading retailers in the United States, with signature products such as ready-to-cook bowls,

15
15    zucchini spirals, riced cauliflower, acai and smoothie bowls, cauliflower crust pizza, wood fire

16
16    crusted pizza, handheld burritos, bars and quesadillas. The Debtors’ products are available in all

17
17    50 states both in private label and through their “Tattooed Chef™” brand mainly in the frozen

18
18    food section of retail food stores.

19
19           10.     The Debtors believe their innovative food offerings converge with consumer

20
20    trends and demands for great-tasting, wholesome, plant-based foods made from sustainably

21
21    sourced ingredients, including preferences for flexitarian, vegetarian, vegan, organic, and gluten-

22
22    free lifestyles. As of December 31, 2022, the Debtors’ products were sold in approximately

23
23    21,000 retail outlets in the United States. The Debtors’ brand strategy has been to introduce the

24
24    attributes of a plant-based lifestyle to build a connection with a broad array of consumers that are

25
25    seeking delicious, sustainably sourced, plant-based foods. The diverse offering of plant-based

26
26    meals produced by the Debtors includes certified organic, non-GMO, certified Kosher, gluten-

27
27    free, as well as plant protein elements that the Debtors believe provide health-conscious

28
28    consumers an affordable, great tasting, clean label food option. As of December 31, 2022, the


                                                      28
      Case 2:23-bk-14154-SK        Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                    Main Document    Page 33 of 66


 11   Debtors had 132 SKUs and over 175 plant-based food concepts and recipes under development

 22   and testing

 33          11.     The Debtors are led by their President and CEO, Salvatore “Sam” Galletti, who

 44   has over 35 years of experience in the food industry as both a manager and an investor, and

 55   Sarah Galletti, the Chief Creative Officer and the creator of the Tattooed Chef brand. The

 66   brand’s tagline, “Serving Plant-Based Foods to People Who Give a Crop,” aims to convey the

 77   brand’s mission to deliver plant-based foods to consumers who care about sustainable and

 88   ethically sourced foods.

 99          12.     The Debtors, through their affiliate Ittella Italy SRL (“Ittella Italy”),14 operate a

10
10    100,000 square foot processing facility in Prossedi, Italy located in close proximity to many of

11
11    the growers that are the Debtors’ primary suppliers of produce. This facility opened in 2017 and

12
12    manufactures various products, including riced cauliflower (plain and value-added), diced

13
13    squash/zucchini, and vegetable spirals. Due to the location of the facility, the Debtors are able to

14
14    transport raw materials to the facility, process them, and manufacture products within a relatively

15
15    short time. Prior to each growing season, the Debtors obtain written commitments as to quantity

16
16    and price from various growers, who commit to supply the projected needs, which commitments

17
17    are then followed by written purchase orders closer to the start of the harvest season. When

18
18    necessary (whether as a result of greater than anticipated demand from customers, or poor crop

19
19    yields due to inclement weather, infestation and the like), the Debtors have been able to obtain

20
20    alternative raw material supply from other sources or on the spot market on satisfactory terms.

21
21    The Prossedi plant was originally leased from a third party. In April 2021, the Debtors spent

22
22    approximately $4.9 million to acquire this facility and its machinery to secure and upgrade the

23
23    frozen food manufacture capabilities. During the past two years, the Debtors improved their

24
24    internal cold storage capabilities to better manage inventory and to capitalize on seasonal

25
25    purchases of raw materials during peak harvest season.

26
26

27
27    14
        Concurrently with the commencement of these bankruptcy cases, the Debtors’ Italian affiliate
28
28    has commenced a restructuring process under Italian law.


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      Case 2:23-bk-14154-SK        Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22               Desc
                                    Main Document    Page 34 of 66


 11          13.      In May 2021, TCI acquired NMFD and Karsten for a total purchase price of

 22   approximately $34.1 million, and, on December 21, 2021, through BCI, acquired substantially all

 33   of the assets and assumed certain liabilities from Belmont Confections, Inc. (located in Ohio) for

 44   a total purchase price of $16.7 million. In August 2022, TCI, through TTCF, entered into an

 55   equipment purchase agreement with Desert Premium Group, LLC pursuant to which the Debtors

 66   acquired certain manufacturing, production, and storage assets, organized workforce, as well as

 77   assumed a lease for an 80,000 square foot manufacturing facility located in Albuquerque, New

 88   Mexico, for a purchase price of approximately $10.4 million.15

 99          14.      The Debtors currently lease processing facilities in Paramount, California,

10
10    Albuquerque, New Mexico, and Youngstown, Ohio, a storage facility in Vernon, California,

11
11    approximately 270,000 square feet of cold storage facility in Ceccano, Italy and have a small

12
12    office suite lease in San Pedro, California. The Paramount facility also serves as the Debtors’

13
13    headquarters.

14
14           15.      As of December 31, 2022, the Debtors had approximately 800 full-time

15
15    employees in the United States and 140 full-time employees in Italy. None of the Debtors’

16
16    employees are represented by a labor union; they are either employed directly through the

17
17    Debtors or through a staffing agency.

18
18           16.      The Debtors own domestic copyrights and domestic and foreign trademarks,

19
19    trademark applications, registrations, and other proprietary rights that are important to their

20
20    business. The Debtors’ primary trademarks include the Tattooed Chef® and People Who Give a

21
21    Crop™.       In addition, the Debtors own the domain names: www.ittellafoods.com and

22
22    www.tattooedchef.com.

23
23           17.      When the Debtors went public in 2020, the brand had household awareness of

24
24    under 6%, were available in only 4 major retailers nationwide, and were in less than 4,000 stores.

25
25

26
26    15
        TCI acquired all of the equity of Myjojo pursuant to an Agreement and Plan of Merger, dated
27
27    June 11, 2020, as amended on August 10, 2020. Myjojo has no operations, and its only asset is
      the membership interest in Ittella. In turn, Ittella owns the membership interest in ITLLC, a
28
28    California limited liability company, which owns equity interests in Ittella Italy.


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      Case 2:23-bk-14154-SK           Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22            Desc
                                       Main Document    Page 35 of 66


 11   Since then, brand awareness has grown to over 26% of households, and the Debtors’ products

 22   are carried by over 40 retailers in over 23,000 retail stores. The Debtors invested over $100

 33   million on marketing and in-store promotions to achieve this growth within such a short time

 44   period.

 55             18.    After the corporate acquisitions described above and the substantial outlay of

 66   funds to develop the market for the Debtors’ products, the Debtors found themselves short on

 77   cash. In August 2022, the Debtors engaged a financial advisor to pursue new financing through

 88   a “PIPE”16 transaction whereby an institutional or accredited investor would acquire shares in

 99   TCI at a below market price, or through other financing methods that might be available to the

10
10    Debtors. In October, the Debtors’ auditors advised the Debtors that certain adjustments and

11
11    restatements to their financial statements were required, which affected the Debtors’ financial

12
12    statements for the preceding six financial quarters.

13
13              19.    Over the next 8 months, the Debtors diligently explored alternative financing and

14
14    funding solutions. However, due to the Debtors’ restated financial statements, changes in the

15
15    capital markets, and the general economic conditions affecting the Debtors’ market segment, the

16
16    Debtors were unable to obtain any new financing. Although the Debtors experienced revenue

17
17    growth from $147 million in 2020 to $230 million in 2022, TCI’s share price declined

18
18    dramatically, particularly over the first quarter of 2023. During this time period, the Debtors’

19
19    liquidity became constrained and the Debtors fell behind on payments to suppliers and other

20
20    parties necessary to the continued operation and profitability of their business.

21
21              20.    Although the Debtors have done everything possible to reduce operating expenses

22
22    over the last nine months, such reduction in expenses has not resulted in sufficient savings to

23
23    preserve the Debtors’ ability to timely pay its obligations and satisfy customer demand. In

24
24    addition, the costs of compliance with public company reporting and other requirements have

25
25    been substantial. As a result of the Debtors’ inability to obtain new financing and materially

26
26

27
27
      16
28
28         Private investment in public equity.


                                                       31
      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                Desc
                                     Main Document    Page 36 of 66


 11   reduce operating and other expenses, the Debtors ultimately decided to commence these

 22   bankruptcy cases in order to expeditiously pursue a sale of some or all of their assets.

 33          21.     Prior to the Petition Date, TCI entered into an agreement with JC Ford (“JCF”),

 44   pursuant to which TCI acquired certain machinery and equipment manufactured by JCF, to be

 55   used by Karsten to manufacture Tattooed Chef branded salty snacks, Mexican entrees, traditional

 66   entree bowls and private label products.17 As a condition of the purchase from JCF, JCF

 77   obtained a security interest in the equipment sold to TCI until such time as the full purchase price

 88   for the equipment was paid. As of the Petition Date, the balance of the purchase price still owed

 99   to JCF was $910,318.15 (the “JCF Claim”). JCF properly perfected its security interest by

10
10    recording a UCC-1 against TCI with the Delaware Secretary of State, which is the state where

11
11    TCI was incorporated. A true and correct copy of JCF’s UCC-1 obtained from the Delaware

12
12    Secretary of State is attached hereto as Exhibit “2.”

13
13           22.     After the Petition Date, the Debtors filed their Emergency Motion of Debtors for

14
14    Entry of Interim and Final Orders (I) Authorizing Debtors to Obtain Postpetition Financing, (II)

15
15    Authorizing Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority

16
16    Administrative Expense Claims, (IV) Granting Adequate Protection, (V) Modifying Automatic

17
17    Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief (the “DIP Motion”)

18
18    [Itella Doc. No. 8]. The Court entered an interim order (the “Interim DIP Order”) [Itella Doc.

19
19    No. 77] granting the DIP Motion on an interim basis and a final order (the “Final DIP Order”)

20
20    [Itella Doc. No. 275] granting the DIP Motion on a final basis. Pursuant to the Interim DIP

21
21    Order, UMB Bank, n.a. (“UMB”), the Debtors pre-Petition Date and debtor in possession lender,

22
22    perfected its security interest in TCI’s assets to secure the $3,000,000 New Money DIP Loans

23
23    and $3,000,000 DIP Roll-Up Loans made by UMB to the Debtors by recording a UCC-1 against

24
24    TCI with the Delaware Secretary of State, which is the state where TCI was incorporated. A true

25
25
      17
         Based upon the Debtors’ internal accounting system and the fact that the equipment was used
26
26
      by Karsten in its facility, the Karsten Schedules of Assets and Liabilities (Karsten Doc. No. 22)
27
27    identify the Transferred Assets as property of the Karsten estate. Title to the Transferred Assets
      was transferred to TCI in the sale transaction with JCF, and there has never been a formal
28
28    transfer of title from TCI to Karsten.


                                                       32
      Case 2:23-bk-14154-SK          Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22              Desc
                                      Main Document    Page 37 of 66


 11   and correct copy of the current UCC-1 Report obtained from the Delaware Secretary of State,

 22   which shows UMB’s lien, is attached hereto as Exhibit “3.”

 33           23.     As part of their restructuring efforts prior to the commencement of their

 44   bankruptcy case, representatives of the Debtors, which include TCI, contacted JCF to explore the

 55   possibility of a sale of the equipment and to find out whether JCF could identify any potential

 66   buyers for the equipment. TCI entered into negotiations with Naturasol, a Sociedad Anónima de

 77   Capital Variable (“Buyer”) to acquire the equipment, and reached an agreement regarding the

 88   terms and conditions for the sale of the equipment for a purchase price of $5,750,000.18

 99           24.     The offer made by Buyer was roughly equal to TCI’s cost of acquiring the

10
10    equipment from JCF, less the costs associated with installing the equipment when it was

11
11    purchased. As such, the Debtors determined that it was in the best interests of TCI, its estate and

12
12    its creditors to proceed with a sale of the designated assets. As of the date of this Motion, TCI

13
13    has received no other offers to acquire the assets to be sold to Buyer.19

14
14            25.     The Debtors engaged SC&H Group, Inc. (“SCH”) as their investment banker to

15
15    market and manage a sales process for their assets, in whole or in part.20 Because the Debtors

16
16    believe that the purchase price to be paid for TCI’s assets represents fair market value, and

17
17    because the proposed transaction is an all-cash deal with no contingencies other than Bankruptcy

18
18    Court approval, after consultation with SCH, the Debtors have determined that it is in all parties’

19
19    best interests to sell TCI’s assets separately from all of the other assets to be sold.

20
20

21
21    18
        After the Petition Date, Buyer revised its offer to reduce the purchase price to $5,000,000. As
      a result of arm’s length, good faith negotiations, TCI was able to get Buyer to proceed on the
22
22
      original terms negotiated, i.e., a purchase price of $5,750,000.
23
23    19
         The assets which are to be sold to Buyer have been listed by the Debtors’ investment banker
      among the assets generally being offered for sale, and information regarding the assets which are
24
24
      the subject of this Motion has been available to any and all interested parties through the data
25
25    room that has been established. No party other than Buyer has expressed an interest in acquiring
      just the assets which are to be sold to Buyer. Nonetheless, the Debtors will provide notice of the
26
26    hearing on this Motion and the opportunity to bid for the assets to be sold to all parties who have
      executed non-disclosure agreements and accessed the data room.
27
27    20
        See application to employ SCH [Ittella Doc. No. 110] and the order thereon [Ittella Doc. No.
28
28    171].


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      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                     Main Document    Page 38 of 66


 11          26.     TCI’s Schedules of Assets and Liabilities (TCI Doc. No. 22) reflect only two

 22   creditors with liquidated claims: UMB, holding a claim of approximately $19,000,00021 secured

 33   by a lien on all of TCI’s assets, and an intercompany claim by Ittella in the amount of

 44   approximately $34.5 million. JCF was mistakenly listed as an unsecured creditor with no

 55   liquidated claim.

 66           26.    The APA, a true and correct copy of which is attached hereto as Exhibit “1,”

 77    contemplates the sale and transfer of certain assets of TCI, as more particularly described in

 88    Exhibit “A” to the APA (collectively, the “Transferred Assets”), free and clear of all liens,

 99    claims, encumbrances, and interests,22 to Buyer for cash in the amount of $5,750,000 (the

10
10     “Purchase Price”).

11
11           27.     Under the terms of the APA, 23 the Purchase Price to be paid by Buyer for the

12
12    Transferred Assets is comprised of the following: (a) a non-refundable cash deposit in the

13
13    amount of $2,000,000 upon execution of the APA, (b) the remaining balance payable prior to the

14
14    removal of the Transferred Assets from the Karsten facility, but in no event later than 3 weeks

15
15    after Bankruptcy Court approval of the sale. There are no conditions to Buyer’s offer other than

16
16    Bankruptcy Court approval, and there are no contingencies that must be addressed before Buyer

17
17    will close. The Transferred Assets are to be sold to Buyer “as is” and “where is” with no

18
18    representations or warranties by TCI other than it is the lawful owner of the Transferred Assets

19
19    and, upon approval of the sale, shall transfer the Transferred Assets free and clear of all liens and

20
20    encumbrances. See APA, ¶ 4.

21
21
      21
         Although UMB might have the right to credit bid for the Transferred Assets pursuant to
22
22
      Section 363(k) of the Bankruptcy Code, UMB has advised TCI that it does not intend to exercise
23
23    such right.
      22
        Any and all valid liens, claims, encumbrances or interests that were perfected as of the
24
24
      Petition Date shall attach to the proceeds of the sale once received by TCI. As part of this
25
25    Motion, TCI is requesting authority to distribute the sale proceeds to UMB and JCF in the
      amounts set forth herein.
26
26    23
         The following is a summary of the principal terms of the sale of TCI’s assets pursuant to the
27
27    APA, and is not intended to be a comprehensive recitation of the terms and conditions set forth
      in the APA. In the event of any inconsistency between the summary set forth herein and the
28
28    APA itself, the APA shall control.


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      Case 2:23-bk-14154-SK         Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                 Desc
                                     Main Document    Page 39 of 66


 11          28.     SCH has discussed the sale process with Buyer, and have obtained Buyer’s

 22   consent to allow TCI to solicit higher and better bids to acquire the Transferred Assets. TCI

 33   contemplates the consideration of competing bids at the hearing on this Motion. In order to

 44   participate in the auction for the Transferred Assets, by not later than 2 business days prior to the

 55   hearing on the Motion, a prospective bidder must (a) deliver a cashier’s check in the amount of

 66   $575,000 to counsel for the Debtors; (b) provide proof of the bidder’s ability to pay the

 77   remainder of the purchase price in cash upon closing which shall occur no later than 3 weeks

 88   following entry of an order approving the proposed sale; and (c) agree to proceed with the

 99   acquisition of the Transferred Assets on all of the same terms and conditions set forth in the APA

10
10    (other than the identity of Buyer and the purchase price), including, without limitation, the

11
11    absence of any conditions to closing other than entry of an order approving the sale and

12
12    identifying the bidder as the winning bidder. Any competing bid made at the hearing on the

13
13    Motion must be not less than $50,000 more than the prior highest bid, and the bidding shall

14
14    continue until no further bids are made by any participant in the auction. Neither Buyer nor any

15
15    competing bidder shall be entitled to a break-up fee, any expense reimbursement, or any

16
16    administrative claim for a “substantial contribution” claim under 11 U.S.C. § 503(b)(3) or (4), or

17
17    any similar claim, in connection, with the sale.24

18
18           29.     At the conclusion of the auction, if any, TCI shall identify the “winning” bidder

19
19    and may designate another party as a “backup” bidder in the event the winning bidder does not

20
20    proceed with the transaction. If a party is designated as a “winning” bidder and, through no fault

21
21    of TCI, fails to close within the established deadline, such bidder shall forfeit its deposit, and

22
22    TCI can proceed to close a transaction with the designated “backup” bidder.

23
23           30.     If no party satisfies the conditions to participating in an auction for the

24
24    Transferred Assets prior to the hearing on the Motion, TCI will advise the Court that no auction

25
25

26
26    24
        SCH is not seeking payment of a fee upon the closing of the sale of the Transferred Assets.
27
27    However, upon the close of the sale of other assets, SCH will seek the payment of a fee
      consistent with its approved employment application in connection with the sale of the
28
28    Transferred Assets.


                                                       35
         Case 2:23-bk-14154-SK            Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22              Desc
                                           Main Document    Page 40 of 66



     1   will be necessary, and will seek approval of the APA and the sale to Buyer on the terms and
 2       conditions set forth therein.
 3               31.      Given that the only creditors of TCI are UMB, JCF and Ittella, TCI has reached
 4       an agreement with UMB that the proceeds from the sale shall be allocated as follows: (a) an
 5       amount equal to the JCF Claim to JCF to satisfy the JCF Claim and extinguish JCF's lien and (B)
 6       the remainder (approximately $4,840,000) distributed to UMB to be first applied to fully repay
 7       the DIP Roll-Up Loans (as defined in the Final DIP Order) and thereafter to be applied to reduce
 8       the Lender Allowed Claim (as defined in the Final DIP Order). Additionally, the Debtors will
 9       submit an Updated Budget that reduces the Permitted Overformula Amount by the amount of
10       such paydown. If the proposed distribution of the sale proceeds is not approved by the Court, the
11       proceeds will be held in a segregated blocked debtor-in-possession account at UMB and UMB's
12       lien and JCF's lien shall attach to the proceeds of the sale in the same priority and to the same
13       extent and validity as their respective pre-petition liens.
14               32.     Under the circumstances, and, in particular, given the straightforward nature of
15       the proposed sale to Buyer, I determined that the proposed sale is in the best interests of TCI, and
16       in the best interests of its estate and creditors.
17               I declare under penalty of perjury under the laws of the United States that the foregoing is
18       true and correct.
19               Executed on this 16th day of August 2023, at       1?�� (2 /J
20
21
22
                                                              ZMIJ��
                                                                   EDWARD BIDANSET

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Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 41 of 66




                    EXHIBIT "1"
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 42 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 43 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 44 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 45 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 46 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 47 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 48 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 49 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 50 of 66
   Case 2:23-bk-14154-SK       Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                                Main Document    Page 51 of 66


                        TORTILLA CHIP LINE, 2500 LB/HR


450    SYSTEM CONTROLS

450      1   MCC 3 - CONTROL CENTER
451      1   REMOTE PEDESTAL MOUNTED CONTROL PANEL
452      1   AC - E-BOX AIR CONDITIONING UNIT
453      1   MCC-4 - FRYER CONTROL CENTER -HMI
454      1   AC - E-BOX AIR CONDITIONING UNIT



500    TORTILLA CHIP FRYER SYSTEM

 507     1   TORTILLA CHIP FRYER, 2500 LBS/HR
507A     1   QUICKDRAFT FRYER EXHAUSTER & GREASE DEMIST
 508     1   HEAT EXCHANGER - 3.0 MBTU
 509     1   FRYER COMPONENT SKID, HX-3000
 510     1   PIPING & VALVES
 511     1   FORCED AIR COOLER

600    SEASONING & PACKAGING SYSTEM

             TRANSFER CONVEY & SEASONING SYSTEM - Dry
600      1   Seasoning Applicator Single drum
601      1   TRANSFER & DISTRIBUTION CONVEYOR SYSTEM
             2 -14 HEAD SCALES, 2 BAGGERS, 2METAL DETECTORS,
602      1   2 CODE PRINTER
603      1   SYSTEM CONTROLS
604      1   INTEGRATION PACKAGE
605      1   DUAL SCALE PLATFORM W ACCESS STAIRS



             Supplemental Equipment
             Additional (4) Bagger Systems and associated components

             Six (6) position deck with stainless support legs


              •      6 bag BPA collector
              •      1 Scale Douglas washer
              •      1 fire suppression water system
              •      1 compacting machine
              •      Kit of various spare parts
              •      6 IPG tape machines
              •      21 tubes for Ishidas
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 52 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 53 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 54 of 66




                    EXHIBIT "2"
Case 2:23-bk-14154-SK              Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                             Desc
                                    Main Document    Page 55 of 66




Name :                             Tattooed Chef Inc.

Service :                          UCC/FTL - Certified

Jurisdiction :                     US - DE - Secretary of State

Thru Date:                         06/07/2023

Results :



                                   1 Financing Statement(s)

                                   0 Federal Tax Lien(s)




    Reasonable care is exercised in the completion of all requests, however, as the responsibility for the accuracy
       of the public records rests with the filing officer, we accept no liability for the report contained herein.
Case 2:23-bk-14154-SK               Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                   Desc
                                     Main Document    Page 56 of 66




                                            Delaware                                                  Page 1

                                                        The First State
                                                   CERTIFICATE

          SEARCHED JUNE 20, 2023 AT 4:48 P.M.
          FOR DEBTOR, TATTOOED CHEF, INC.

         1 OF 1                       FINANCING STATEMENT                                20230992627
                            EXPIRATION DATE: 02/07/2028
    DEBTOR:               TATTOOED CHEF, INC.

                          251 LITTLE FALLS DRIVE                                       ADDED     02-07-23

                          WILMINGTON, DE US 19808

    SECURED:              J. C. FORD COMPANY

                          901 LESLIE STREET                                            ADDED     02-07-23

                          LA HABRA, CA US 90631



                                                F I L I N G            H I S T O R Y

      20230992627                FILED 02-07-23                  AT 2:52 P.M.      FINANCING STATEMENT



                                   E N D       O F      F I L I N G          H I S T O R Y

      THE UNDERSIGNED FILING OFFICER HEREBY CERTIFIES THAT THE ABOVE
 LISTING IS A RECORD OF ALL PRESENTLY EFFECTIVE FINANCING STATEMENTS,
 LAPSED FINANCING STATEMENTS, FEDERAL TAX LIENS AND UTILITY SECURITY
 INSTRUMENTS FILED IN THIS OFFICE WHICH NAME THE ABOVE DEBTOR, TATTOOED
 CHEF, INC. AS OF JUNE 7, 2023 AT 11:59 P.M.




 20249496447-UCC11                                                                     Authentication: 203584701
 SR# 20232805841                                                                                   Date: 06-20-23
 You may verify this certificate online at corp.delaware.gov/authver.shtml
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 57 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 58 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 59 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 60 of 66
Case 2:23-bk-14154-SK   Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22   Desc
                         Main Document    Page 61 of 66




                    EXHIBIT "3"
Case 2:23-bk-14154-SK                 Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                  Desc
                                       Main Document    Page 62 of 66


                                           Delaware                                                  Page 1

                                                       The First State
                                                  CERTIFICATE

         SEARCHED JULY 25, 2023 AT 12:24 P.M.
         FOR DEBTOR, TATTOOED CHEF, INC.

        1 OF 2                       FINANCING STATEMENT                                20230992627
                           EXPIRATION DATE: 02/07/2028
   DEBTOR:               TATTOOED CHEF, INC.

                         251 LITTLE FALLS DRIVE                                       ADDED     02-07-23

                         WILMINGTON, DE US 19808

   SECURED:              J. C. FORD COMPANY

                         901 LESLIE STREET                                            ADDED     02-07-23

                         LA HABRA, CA US 90631



                                               F I L I N G            H I S T O R Y

     20230992627                FILED 02-07-23                  AT 2:52 P.M.     FINANCING STATEMENT



        2 OF 2                       FINANCING STATEMENT                                20234935523
                           EXPIRATION DATE: 07/17/2028
   DEBTOR:               TTCF-NM HOLDINGS, INC.

                         6305 ALONDRA BLVD.                                           ADDED     07-17-23

                         PARAMOUNT, CA US 90723




20250395798-UCC11                                                                     Authentication: 203818512
SR# 20233075376                                                                                   Date: 07-25-23
You may verify this certificate online at corp.delaware.gov/authver.shtml
Case 2:23-bk-14154-SK                 Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                  Desc
                                       Main Document    Page 63 of 66


                                           Delaware                                                  Page 2

                                                       The First State
   DEBTOR:               TATTOOED CHEF, INC.

                         6305 ALONDRA BLVD.                                           ADDED     07-17-23

                         PARAMOUNT, CA US 90723

   SECURED:              UMB BANK, N.A.

                         333 S. GRAND AVE., SUITE 2200                                ADDED     07-17-23

                         LOS ANGELES, CA US 90071



                                               F I L I N G            H I S T O R Y

     20234935523                FILED 07-17-23                  AT 4:16 P.M.      FINANCING STATEMENT



                                  E N D       O F      F I L I N G          H I S T O R Y

     THE UNDERSIGNED FILING OFFICER HEREBY CERTIFIES THAT THE ABOVE
LISTING IS A RECORD OF ALL PRESENTLY EFFECTIVE FINANCING STATEMENTS,
LAPSED FINANCING STATEMENTS, FEDERAL TAX LIENS AND UTILITY SECURITY
INSTRUMENTS FILED IN THIS OFFICE WHICH NAME THE ABOVE DEBTOR, TATTOOED
CHEF, INC. AS OF JULY 17, 2023 AT 11:59 P.M.




20250395798-UCC11                                                                     Authentication: 203818512
SR# 20233075376                                                                                   Date: 07-25-23
You may verify this certificate online at corp.delaware.gov/authver.shtml
Case 2:23-bk-14154-SK                Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                                       Desc
                                      Main Document    Page 64 of 66
                                    PROOF OF SERVICE OF DOCUMENT
  1   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 2818 La Cienega Avenue, Los Angeles, CA 90034
  2
      A true and correct copy of the foregoing document entitled DEBTOR’S MOTION FOR ENTRY OF AN
  3   ORDER (1) AUTHORIZING SALE OF SUBSTANTIALLY ALL OF TCI’S ASSETS FREE AND CLEAR
      OF ALL LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS; (2) WAIVING THE 14-DAY STAY
  4   PERIODS SET FORTH IN BANKRUPTCY RULE 6004(h); AND (3) GRANTING RELATED RELIEF;
      MEMORANDUM OF POINTS AND AUTHORITIES AND DECLARATION IN SUPPORT THEREOF will
  5   be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
      2(d); and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On August 16, 2023, I checked the CM/ECF docket for this bankruptcy case
  8   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
      to receive NEF transmission at the email addresses stated below:
  9
               Mark A Amendola mamendola@martynlawfirm.com
 10            Todd M Arnold tma@lnbyg.com
               Marshall J August maugust@frandzel.com, rsantamaria@frandzel.com
 11            Tanya Behnam tbehnam@polsinelli.com,
                tanyabehnam@gmail.com;ccripe@polsinelli.com;ladocketing@polsinelli.com
 12            Michael Jay Berger michael.berger@bankruptcypower.com,
                yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
 13            Daren Brinkman firm@brinkmanlaw.com, 7764052420@filings.docketbird.com
               Robert Carrasco rmc@lnbyg.com
 14            Abram Feuerstein abram.s.feuerstein@usdoj.gov
               John-Patrick M Fritz jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
 15            Michael I. Gottfried mgottfried@elkinskalt.com,
                cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
 16            Everett L Green everett.l.green@usdoj.gov
               David S Hagen davidhagenlaw@gmail.com
 17            Mark S Horoupian mark.horoupian@gmlaw.com,
                mhoroupian@ecf.courtdrive.com;cheryl.caldwell@gmlaw.com;karen.files@gmlaw.com
 18            K Kenneth Kotler kotler@kenkotler.com, linda@kenkotler.com
               Jeffrey A Krieger jkrieger@ggfirm.com,
 19             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
                usker.com
 20            Aaron J Malo amalo@sheppardmullin.com,
                clopez@sheppardmullin.com;abilly@sheppardmullin.com
 21            Ron Maroko ron.maroko@usdoj.gov
               Kyle J Mathews kmathews@sheppardmullin.com
 22            David W. Meadows david@davidwmeadowslaw.com
               Angela Z Miller amiller@phillipslytle.com, styrone@phillipslytle.com
 23            John A Moe john.moe@dentons.com,
                glenda.spratt@dentons.com;derry.kalve@dentons.com
 24            Tania M Moyron tania.moyron@dentons.com,
                rebecca.wicks@dentons.com;kathryn.howard@dentons.com;derry.kalve@dentons.com;g
 25             lenda.spratt@dentons.com;DOCKET.GENERAL.LIT.LOS@dentons.com
               Alan I Nahmias anahmias@mbn.law, jdale@mbn.law
 26            David L. Neale dln@lnbyg.com
               Matthew D. Resnik Matt@rhmfirm.com,
 27             roksana@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rhmfirm.co
                m;rebeca@rhmfirm.com;david@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;rus
 28             s@rhmfirm.com
               Edward Rubacha er@jhkmlaw.com, docket@jhc.law;am@jhc.law

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 2:23-bk-14154-SK                Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                                       Desc
                                      Main Document    Page 65 of 66
               Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
  1            Amit Kumar Sharma amit.sharma@aisinfo.com
               David Samuel Shevitz david@shevitzlawfirm.com,
  2             shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.co
                m
  3            Ronald P Slates rslates2@rslateslaw.com,
                scannavan@rslateslaw.com;slatesecf@rslateslaw.com
  4            Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
               Randy S Snyder rsnyder@rsslegal.com
  5            Alan G Tippie Alan.Tippie@gmlaw.com,
                atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denis
  6             e.walker@gmlaw.com
               United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
  7            Glenn S Walter gwalter@honigman.com
               Roye Zur rzur@elkinskalt.com,
  8             cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com

  9   2. SERVED BY UNITED STATES MAIL: On August 16, 2023, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 10   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 11   completed no later than 24 hours after the document is filed.

 12      In re itella International LLC
         Case No. 10097
 13      RSN
         Served by U.S. Mail or NEF if marked
 14      with an *

 15      Attn: BMW Financial Services NA,                         SUITABLE STAFFING SOLUTIONS, INC.
         LLC Department /AIS Portfolio                            c/o Frandzel Robins Bloom & Csato, L.C.
 16      Services, LLC / Amit Sharma (NEF)*                       Attn: Marshall J. August (NEF)*
         4515 N Santa Fe Ave. Dept. APS                           1000 Wilshire Boulevard, 19th Floor
 17      Oklahoma City, OK 73118                                  Los Angeles, California, 90017-2427


 18      Edward Rubacha (NEF)*                                    SKILLSET GROUP LLC
         Jennings Haug Keleher McLeod,                            c/o Law Offices of K. Kenneth Kotler
 19      L.L.P.                                                   Attention: K. Kenneth Kotler (NEF)*
         2800 N. Central Avenue, Suite 1800                       1901 Avenue of the Stars, Suite 1100
 20      Phoenix, AZ 85004-1049                                   Los Angeles, CA 90067

 21      Secured Creditor                                         Buyer
         JC Ford                                                  Naturasol, a Sociedad Anónima de
 22      901 LESLIE STREET                                        Capital Variable
         LA HABRA, CA 90631                                       Circunvalaciónponiente 9a
 23                                                               Naucalpande Juarez
                                                                  Mexico
 24
                                                               Additional service per Proof of Service to be filed by Stretto
 25   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 26   on August 16, 2023, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 27   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 2:23-bk-14154-SK                Doc 279 Filed 08/16/23 Entered 08/16/23 17:21:22                                       Desc
                                      Main Document    Page 66 of 66
      SERVED BY PERSONAL DELIVERY
  1   Honorable Sandra R. Klein
      United States Bankruptcy Court
  2   255 E. Temple Street, Suite 1582
      Courtroom 1575
  3   Los Angeles, CA 90012

  4   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  5
       August 16, 2023                     Lourdes Cruz                                  /s/ Lourdes Cruz
  6    Date                            Type Name                                         Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
